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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

SLUSH PUPPIE LIMITED,                       )
                                            )
                      Plaintiff,            )      Case No: 1:19-cv-00189-MRB
                                            )
                      v.                    )      JUDGE MICHAEL R. BARRETT
                                            )
THE ICEE COMPANY,                           )      MAGISTRATE JUDGE BOWMAN
                                            )
                      Defendant.            )

                    PLAINTIFF SLUSH PUPPIE LIMITED’S NOTICE
                    OF FILING DEPOSITION OF DANIEL FACHNER

       Plaintiff Slush Puppie Limited, by and through counsel, hereby gives notice of filing the

deposition transcript of Daniel Fachner taken on August 26, 2021.

                                            Respectfully submitted,

                                            BENESCH, FRIEDLANDER,
                                             COPLAN & ARONOFF LLP


                                            /s/ Eric Larson Zalud
                                            Eric Larson Zalud (0038959)
                                            Laura E. Kogan (0087453) (pro hac vice)

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                                            jturk@beneschlaw.com
                                            Attorneys for Plaintiff Slush Puppie Limited
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                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was electronically filed on this 30th day of

August 2021. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


                                              /s/ Eric Larson Zalud
                                              Eric Larson Zalud
                                              Attorney for Plaintiff Slush Puppie Limited




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                                                 -2-
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                   6OXVK3XSSLH/LPLWHG

                                      YV

                     7KH,FHH&RPSDQ\

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                             6RXWKHUQ'LVWULFWRI2KLR
                                :HVWHUQ'LYLVLRQ
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Deposition of Daniel Fachner                                   Slush Puppie Limited, vs. The Icee Company,


   1                              UNITED STATES DISTRICT COURT
   2                               SOUTHERN DISTRICT OF OHIO
   3

   4      SLUSH PUPPIE LIMITED,                                 )
   5                                  Plaintiff,                )
   6                           -vs-                             ) Case No.
   7      THE ICEE COMPANY,                                     )1:19-cv-0189-MRB
   8                                  Defendant.                )
   9                Deposition of DANIEL FACHNER, a Defendant herein,
 10       being called by the Plaintiff as if upon
 11       cross-examination under the statute, and taken before A.
 12       David Tackla and Christine Schirripa, Notaries Public
 13       within and for the State of Ohio, pursuant to the
 14       agreement of counsel, and pursuant to the further
 15       stipulations of counsel herein contained, on Thursday,
 16       the 26th day of August, 2021, at 2:00 p.m., via Zoom
 17       Videoconference, at Tackla Court Reporting, 1801 E. 9th
 18       Street, Suite 1020, City of Cleveland, County of Cuyahoga
 19       and the State of Ohio.
 20                             - - - o0o - - -
 21

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   1      APPEARANCES:
   2                    On behalf of the Plaintiff:
   3                    Benesch, Friedlander, Coplan & Aronoff, by:
   4                    Eric Larson Zalud, Esq.
   5                    Laura E. Kogan, Esq.
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 11

 12                     On behalf of the Defendant:
 13                     David Wolfsohn, Esq.
 14                     Tyler R. Marandola, Esq.
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 16                     Philadelphia, PA 19103
 17                     (215) 979-1000
 18                     djwolfsohn@duanemorris.com
 19                     tmarandola@duanemorris.com
 20

 21                            COMPUTER-AIDED TRANSCRIPTION
 22                                TACKLA & ASSOCIATES
 23                              1020 Ohio Savings Plaza
 24                                  1801 E. 9th Street
 25                               Cleveland, Ohio        44114


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   1                             EXHIBIT LOG
   2      EXHIBIT NO.          PAGE        LINE        DESCRIPTION
   3      #1                   21           17         4/6/12 E-mail
   4      #2                   22           15         1/19/16 E-mail
   5      #3                   23             2        12/22/15 E-mail
   6      #4                   24             6        2/23/09 E-mail
   7      #5                   25             1        12/12/08 E-mail
   8      #6                   25           22           3/12/09 E-mail
   9      #7                   27             3        12/3/13 E-mail
 10       #8                   27           23         12/14/15 E-mail
 11       #9                   28           18           9/29/08 E-mail
 12       #10                  30             2          12/31/08 E-mail
 13       #11                  30           15               3/12/09 E-mail
 14       #12                  32             1              6/23/09 E-mail
 15       #13                  33           11               12/15 12 E-mail
 16       #14                  34             7              Contract
 17       #15                  62             5              Agreement
 18       #16                  68           16               Declaration
 19       #17                  72           15               Second Declaration
 20       #18                  74             5              Interrogatories
 21       #19                  85           10               08-24-21 E-mail
 22       #21                  88             5              Projected License Fees
 23       #22                  90           20               Slush Puppie29 Results
 24       #23                  92           18               07-26-21 E-mail
 25       #24                  95             3              02-11-21 E-mail


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   1      #25                  101              23           Picture
   2      #26                  102              10           03-11-21 E-mail
   3      #27                  105              10           06-18-21 E-mail
   4      #28                  106              18           06-14-21 E-mail
   5      #32                  112              13           Motion for Preliminary
   6                                                         Injunction
   7

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Deposition of Daniel Fachner                                   Slush Puppie Limited, vs. The Icee Company,


   1                                 P-R-O-C-E-E-D-I-N-G-S
   2                DANIEL FACHNER, of lawful age, a Defendant herein,
   3      having been first duly sworn as hereinafter certified,
   4      deposes and says as follows:
   5

   6                      CROSS-EXAMINATION OF DANIEL FACHNER
   7      BY MR. ZALUD:
   8                Q.          This is the deposition of Dan Fachner,
   9      taken in the case captioned Slush Puppie versus
 10       ICEE, et al, pending in the Southern District of
 11       Ohio.         The deposition is being taken by agreement
 12       and subsequent notice as to time and place.
 13                             Mr. Fachner, we met briefly off the
 14       record, I will introduce myself to you on the
 15       record.              I represent the plaintiff in this case,
 16       Frozen Brothers, and a few ground rules.                      You have
 17       just taken an oath.              I know you've had your
 18       deposition taken before.                You realize and appreciate
 19       it carries with it all of the obligations of telling
 20       the truth as if we were at trial?
 21                 A.          I do.
 22                 Q.          I'm going to be asking you a series of
 23       questions.              I don't think it's going to be too long.
 24       But if you don't understand or hear a question, let
 25       me know, and I will either speak up or clarify,


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   1      otherwise, I will presume you heard and understood
   2      the question and will proceed, all right?
   3                                MR. WOLFSOHN:        Object, I mean he
   4      can't make any assumptions about what is in your
   5      head or what you're presuming.
   6                Q.         Okay.   If you think of something later
   7      that relates to a question I asked before, you can
   8      feel free to raise it.               Mr. Fachner, if you want to
   9      take a break at any time, let me know.                      We just
 10       can't take a break while the question is pending.
 11       All right?
 12                                 MR. WOLFSOHN:        Unless it's a
 13       privileged matter.
 14                                 MR. ZALUD:           Okay.
 15                 Q.         I didn't hear your answer though, your
 16       counsel interjected there.
 17                 A.         I understand.
 18                 Q.         Okay.   Thank you.      Are you taking any
 19       medications that would impact your ability to
 20       testify competently and truthfully today?
 21                 A.         I'm not.
 22                 Q.         How is your hearing, can you hear me okay?
 23                 A.         I can hear you fine.
 24                 Q.         Your memory, normal memory?
 25                 A.         I'm not sure I understand your question,


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   1      but to the best of my knowledge, my memory is
   2      normal, yes.
   3                Q.         Okay.    I mean you don't have any medical
   4      issues with memory problems, right?
   5                A.         No, I don't.
   6                Q.         And we're taking this deposition remotely,
   7      by-the-way, I would have come to you, but, that
   8      wasn't to be.               Are you -- where are you?           Are you in
   9      your office; home; a room?
 10                 A.         I am in my office in La Vergne, Tennessee.
 11                 Q.         And alone in the office?
 12                 A.         Yes.
 13                 Q.         And do you have any electronic devices,
 14       other than this one on at the time?
 15                 A.         I have a cell phone that's on a charger,
 16       yes.
 17                 Q.         All right.    Your counsel said to me you
 18       got to get out of here, what does that mean?                            What
 19       does that mean, you got to get out of here?
 20                 A.         Well, I can't speak for David, but, you
 21       know, the time is important, and so, you know, as we
 22       could do this in the most timely fashion, that would
 23       be wonderful.
 24                 Q.         Good.    Well, that's my goal also.              And I'm
 25       going to ask you a few background questions, but I


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   1      understand you have already had your deposition
   2      taken, so I'm not going to go too deep into anything
   3      and then we'll get to the topics related to the
   4      hearing on Monday, all right?
   5                A.         That sounds great.
   6                                  MR. WOLFSOHN:       Actually, you agreed
   7      to limit it to the topics of the hearing.                         His
   8      deposition's been taken twice by two partners of
   9      your firm.             So, please, go to the issues on the
 10       hearing which is the purpose of this and what you
 11       represented to the court.
 12                 Q.         Could you give me your full name, please?
 13                 A.         Daniel John Fachner.
 14                 Q.         And where do you work, sir?
 15                 A.         J & J Snack Foods.
 16                 Q.         And what is your position there today?
 17                 A.         President and CEO.
 18                 Q.         As I understand it from, I think it was
 19       some discovery responses or maybe something else,
 20       that is a position that you acceded to in October of
 21       2020; is that right?
 22                 A.         Yes.
 23                 Q.         Okay.
 24                 A.         Yeah, the CEO position was in October.                     I
 25       took over the president of that company in April,


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   1      2020.
   2                Q.         So you're the CEO now?
   3                A.         I am.
   4                Q.         And tell me what your duties involve as
   5      CEO?
   6                A.         To oversee the J & J Snack Foods Company,
   7      to properly manage it for today and for the future.
   8                Q.         And what were they as -- what were your
   9      duties as president when you became president in
 10       April of 2020?
 11                 A.         Almost the same duties with a few extra
 12       responsibilities to the Board and some outside
 13       investors.
 14                 Q.         And, you know, I agree with your counsel
 15       to an extent, I'm not going to dig too much into
 16       background, but just in general, how long have you
 17       been at that company?
 18                 A.         I have been with the ICEE Company, which
 19       is a subsidiary of J & J, since 1979.
 20                 Q.         And the ICEE Company at some point, I
 21       forget the exact year, was acquired by J & J Snack
 22       Foods?
 23                 A.         Yes, it was.
 24                 Q.         I think I'm going to try during the course
 25       of this deposition just to refer to the corporate


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   1      entity with which you're affiliated as ICEE just for
   2      ease of our communication, if that's okay with you?
   3                                MR. WOLFSOHN:       Objection.        I mean
   4      it's depending on the context, that may or may not
   5      be misleading.
   6                Q.         Yes, you can always clarify, but it seems
   7      to me like a lot of the events we're talking about
   8      happened while the corporate name was ICEE, so can I
   9      just call it ICEE or is that --
 10                                 MR. WOLFSOHN:       The corporate name has
 11       not changed.             I don't know what you're talking
 12       about.          If you have questions, just please proceed.
 13                                 MR. ZALUD:          I'm not asking you,
 14       David.          It ain't a question for you.            Can I --
 15                                 MR. WOLFSOHN:       I appreciate the
 16       common touch of the use of the word "ain't."
 17                                 MR. ZALUD:          You're building a
 18       wonderful record for yourself, as usual.
 19                 Q.         Mr. Fachner --
 20                                 MR. WOLFSOHN:       As usual, what does
 21       that mean?
 22                                 MR. ZALUD:          I'm --
 23                                 MR. WOLFSOHN:       You just presented a
 24       perjurious witness and another declaration that he
 25       admitted was completely false.


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   1                Q.         So, any way --
   2                                MR. WOLFSOHN:       Or maybe Miss Kogan
   3      didn't tell you about it, because you didn't bother
   4      to attend.             Anyway, the name ICEE has not changed.
   5      I don't know where you're getting this from.                          If you
   6      have a question about a corporate entity, ask about
   7      the corporation entity.
   8                Q.         How about if I call it -- thank you,
   9      David.          How about if I call it J & J/ICEE, do you
 10       know what I'm talking about, Mr. Fachner?
 11                                 MR. WOLFSOHN:       Objection.      I will
 12       object to everything.             You can't name the proper
 13       entity?
 14                                 MR. ZALUD:          I'm just asking the
 15       question to the witness.               Are you instructing him
 16       not to answer?
 17                                 MR. WOLFSOHN:       Dan, don't agree to
 18       bizarre, vague instructions about what Mr. Zalud is
 19       going to assume.
 20                 Q.         So, go ahead, Mr. Fachner.       I don't want
 21       to fight about everything but your lawyer --
 22                                 MR. WOLFSOHN:       There's no question
 23       pending.
 24                 Q.         Can we just call the corporate entity with
 25       whom you've been affiliated for 20 years for


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   1      purposes of this deposition only, so it goes
   2      shorter, ICEE?
   3                A.          Yes, we can do that, and if I need to
   4      clarify it, I will.
   5                Q.          Thank you.   I mean it's quite easy.                   I
   6      know you've had your deposition taken in this case
   7      twice, and I have been reminded of that thrice now
   8      within the first 10 minutes, but have you had your
   9      deposition taken in any other cases before?
 10                 A.          I have.
 11                 Q.          And about how many times has your
 12       deposition been taken?
 13                                  MR. WOLFSOHN:        I instruct you not to
 14       answer.              This has already been covered in deposition
 15       one.        If you're finished, let us know, so we can
 16       call it a day.              Don't answer unless you've had
 17       you're deposition taken between October of 2020 and
 18       now.
 19       BY MR. ZALUD:
 20                 Q.          It sounds like, if I can wade all through
 21       all that, it sounds like your lawyer is instructing
 22       you not to answer, Mr. Fachner.                       So, you know, I
 23       don't know what I can do about that.                       I will ask you
 24       one more time:              How many times have you had your
 25       deposition taken?


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   1                                 MR. WOLFSOHN:         You can ask him
   2      whether he's had his deposition taken between
   3      October 13th of 2020 and present.
   4                                 MR. ZALUD:            Well, that's not what
   5      I am asking.
   6                Q.          So, how many times have you had your
   7      deposition taken?                I'm going to ask you this on
   8      Monday.              Go ahead.
   9                                 MR. WOLFSOHN:         I instruct you not to
 10       answer.
 11                 Q.          Let me ask you this:             Do you know how many
 12       times you've had your deposition taken in the past?
 13                                  MR. WOLFSOHN:         You can answer yes or
 14       no.
 15                                  THE WITNESS:          It would be a
 16       guesstimate, Eric.
 17                 Q.          Okay.
 18                 A.          A few different times.             I guess.
 19                 Q.          All right, that's fine.             What did you do
 20       to get ready for this deposition?                         And I don't want
 21       to hear about any conversations with Mr. Wolfsohn or
 22       Mr. Marandola, but tell me, in general, what you did
 23       to get ready for this deposition?
 24                                  MR. WOLFSOHN:         You can answer at a
 25       high level, Dan.


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   1                                  THE WITNESS:        I did my best to
   2      refresh myself with this case, because it's been so
   3      long from start 'til now, and had some conversations
   4      with our attorneys.
   5                Q.         Did you talk to anyone else other than
   6      ICEE's counsel about this deposition?
   7                A.         No, I haven't.
   8                Q.         Did you look at any paperwork or documents
   9      relating to this lawsuit to prepare for the
 10       deposition?
 11                 A.         I --
 12                                   MR. WOLFSOHN:       Answer yes or no.
 13                                   THE WITNESS:        Yes.
 14                 Q.         Okay.    And what did you look at?
 15                                   MR. WOLFSOHN:       I instruct you not to
 16       answer on the ground of work product.                     Don't answer,
 17       Dan.
 18                 Q.         What kind of documents did you look at?
 19                                   MR. WOLFSOHN:       Objection.      Vague.
 20       But you can say what kind of documents.
 21                                   THE WITNESS:      Documents surrounding
 22       the case that we're discussing.
 23                 Q.         Did you look at some e-mails?
 24                 A.         I believe that I did look at an e-mail.
 25                 Q.         Did you look at the contracts that


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   1      underlie the lawsuit?
   2                                   MR. WOLFSOHN:        I instruct you not to
   3      answer.              Work product.     Don't answer.
   4                Q.          You're familiar with the contracts that
   5      underlie the lawsuit, right?
   6                                   MR. WOLFSOHN:        Objection.      Vague.
   7      Are you referring to the forged one or the real
   8      ones?
   9                Q.          You're familiar with the contracts that
 10       underlie the lawsuit, right, Mr. Fachner?
 11                                    MR. WOLFSOHN:        Objection.      Vague as
 12       to whether you're referring to the one your clients
 13       forged or the real contract.
 14                 Q.          If he doesn't instruct you not to answer,
 15       you can just answer, so go ahead.
 16                 A.          Could you be specific with the contracts
 17       you're referring to?
 18                 Q.          Yes.    There's one in 1996 and one in 1999.
 19                 A.          Yes, I have.
 20                 Q.          When did you see them last?
 21                 A.          A day ago, yesterday.
 22                 Q.          Do you have any other, you know, personal
 23       notes or files of your own about this case, you
 24       know, we have received over the years a lot of
 25       documents in discovery, do you have any others that


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   1      you have kept?
   2                                 MR. WOLFSOHN:       I instruct you not to
   3      answer beyond the scope.                You already answered.
   4                                 THE WITNESS:      No.
   5                Q.          Calendars, do you have any calendars to
   6      reflect meetings with anyone from Slush Puppie or
   7      Frozen Brothers?
   8                                 MR. WOLFSOHN:       I instruct you not to
   9      answer.              This is not a discovery deposition.
 10                                  MR. ZALUD:          It's not a discovery
 11       deposition?              What is it then?        Are you instructing
 12       yourself not to answer that, David?
 13                                  MR. WOLFSOHN:       I don't need to be
 14       rude, but I'm not going to answer your questions
 15       unless they deserve a response.
 16                                  MR. ZALUD:          You don't mean to be
 17       rude?         Really?        Interesting.
 18                                  MR. WOLFSOHN:       If you have any
 19       questions that actually bear on what you told Judge
 20       Barrett you were going to be asking about, go ahead.
 21       If you're finished, let me know.
 22                                  MR. ZALUD:          Isn't that the judge's
 23       decision, not yours.              You ain't the judge, right?
 24                                  MR. WOLFSOHN:       You don't need to
 25       answer.


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   1                Q.          Yes, you don't need to answer.            What
   2      business overall is ICEE in?
   3                A.          Frozen and unfrozen carbonated beverage
   4      business, as well as the service business.
   5                Q.          And in how many countries in the world
   6      does ICEE operate?
   7                A.          Approximately, ICEE, meaning ICEE and
   8      Slush Puppie combined as a brand underneath the ICEE
   9      Company, approximately 15.
 10                 Q.          Okay.   And good clarification, that's an
 11       excellent definition of what I mean.                    I mean let's
 12       call it ICEE going forward in this deposition, okay?
 13                                  MR. WOLFSOHN:        Objection.      Vague.
 14       What are you talking about?
 15                 Q.          Is that okay, Mr. Fachner?
 16                 A.          I will clarify as I said earlier when I
 17       believe it needs that clarification.
 18                 Q.          Okay, thank you.      And what are those
 19       countries?
 20                 A.          Oh, boy, I believe that I have listed them
 21       before.              I'm not sure that I'm going to be able to
 22       sit here and do that appropriately.
 23                 Q.          Okay.   I mean Great Britain, Ireland,
 24       Switzerland, Finland, Norway, Denmark, Spain,
 25       Portugal, Gibraltar, Malta, Greece, that's 11.


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   1      Germany, 12.             Netherlands, Belgium, that's 13.                  A
   2      couple more, are those all accurate though, the ones
   3      I listed?
   4                A.         Those are accurate, yes, and more.
   5                Q.         And at least two more?
   6                A.         At least two more with what you rattled
   7      off, maybe more than two more, yes.
   8                Q.         All right.   And are they primarily in
   9      Europe then?
 10                 A.         No, the ICEE Company operates outside of
 11       Europe as well, we operate in Asia and the Middle
 12       East.
 13                 Q.         And are there, do you know some countries
 14       where ICEE operates in Asia and the Middle East?
 15                 A.         China, Dubai, Saudi Arabia, to name a few.
 16                 Q.         And I understand that may not be all of
 17       them, right?
 18                 A.         No, it is not all of them.
 19                 Q.         I'm pausing, I'm trying to limit my
 20       questions to make it shorter for all of us.                          When
 21       was your most recent discussion you've had with
 22       anyone from Slush Puppie or Frozen Brothers?
 23                                 MR. WOLFSOHN:        Objection.      Vague.
 24       What do you mean Slush Puppie?
 25                 Q.         Yes, a good point.


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   1                                MR. WOLFSOHN:         Do you mean Frozen
   2      Brothers?
   3                Q.         Well, let me just to make it easier for
   4      both of us --
   5                                MR. WOLFSOHN:       There are names of
   6      entities, is there a problem with just naming the
   7      actual entity?             So your client in this case is
   8      called Slush Puppie Limited, okay?                   So, if you're
   9      talking about that entity, is there a problem
 10       referring to that entity?               Or would the name change
 11       Frozen Brothers Limited, or Ralph Peters & Sons
 12       Limited?             So, Slush Puppie is a brand that my client
 13       owns.         So, I don't know why you are wasting time.                         I
 14       think you're a smart enough person to actually know
 15       about legal entities.             And I think you're smart
 16       enough to know what the relevant legal entities are
 17       in this case, so, please, if you're talking about a
 18       legal entity, use that name.
 19                 Q.         I'm the one wasting time, I see.              So, yes,
 20       let's call it Slush Puppie LLC or Frozen Brothers.
 21       When was the last time you had a discussion with
 22       anyone from those companies?
 23                                 MR. WOLFSOHN:       Objection.       Vague.
 24       Answer if you can, Dan.
 25                                 THE WITNESS:        It's been over two


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   1      years ago.
   2                Q.         So approximately, I won't hold you to it,
   3      but 2019, sometime?
   4                A.         Yes, it could be even be longer than that,
   5      but, yes.
   6                Q.         And I'm not going to go into the history
   7      of the relationship, I'm familiar with it and so are
   8      you, I'm sure.               But when -- well, let me ask you
   9      this first:             Has the business relationship between
 10       ICEE and Slush Puppie LLC/Frozen Brothers ended?
 11                                 MR. WOLFSOHN:         Objection.      Vague.
 12                                 THE WITNESS:          Eric, I might need you
 13       to repeat that one more time, I'm not sure I know
 14       how to answer your question.
 15                 Q.         Sure.    There was a business relationship
 16       between what we're calling ICEE and Slush Puppie
 17       LLC, now Frozen Brothers for many decades, and is
 18       that relationship over in your mind?
 19                                 MR. WOLFSOHN:         Objection.      Vague.
 20                                 THE WITNESS:          We terminated our
 21       agreement in June of 2019.
 22                 Q.         So, in your view, that's -- in your view
 23       and ICEE's view, that relationship is over now,
 24       that's all I'm asking.
 25                                 MR. WOLFSOHN:         Objection.      Vague.


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   1                                THE WITNESS:           That terminated our
   2      agreement.             You and I are having a discussion today
   3      so I still feel like there's some pieces of Slush
   4      Puppie U.K. and Frozen Brothers that is still
   5      prevalent in our conversation.
   6                Q.         Understood.    And like I said, I'm not
   7      going to go into the history, but how long -- when
   8      did that relationship, as you recall, start between
   9      the two entities?
 10                 A.         I don't recall the exact date, but,
 11       roughly 12, 13, 14 years prior when we bought the
 12       Slush Puppy rights from Dr. Pepper.
 13                 Q.         Dave, I'm ready for some exhibits.                  Can
 14       you do that?             Okay.   Mr. Fachner, this is Exhibit
 15       No. 1.          If you could take a look at that and tell me
 16       what that is?
 17                            (At this time, Plaintiff's Exhibit 1 was
 18       marked for identification purposes.)
 19                 A.         Unfortunately, I no longer can see the top
 20       of this page to understand where it came from.                               I
 21       can begin to read it from the -- thank you.                            There
 22       we go.
 23                 Q.         There we go.     And thank you for that.                  If
 24       you ever are having problems seeing something, it's
 25       just a matter of us adjusting it here.


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   1                A.         This looks like an e-mail from Steve Every
   2      to Mark Peters.
   3                Q.         And he says, "Thank you," it looks like he
   4      is forwarding an inquiry from someone in Cyprus, is
   5      that accurate?
   6                A.         That's what it looks like he's referring
   7      to.
   8                Q.         Okay.    So, Steve Every is an ICEE employee
   9      at the time?
 10                 A.         He is.
 11                 Q.         And he's sending a lead in Cyprus to Mark
 12       Peters?
 13                 A.         Yes, in 2012.
 14                 Q.         Got it.    The next exhibit, Dave.
 15                            (At this time, Plaintiff's Exhibit 2 was
 16       marked for identification purposes.)
 17                 Q.         Exhibit 2, Mr. Fachner, if you take a look
 18       at that and tell me what that is?
 19                 A.         This is a letter from Steve Every to Mark
 20       Peters asking if he would have an interest in
 21       representing the ICEE brand and product in Spain.
 22                 Q.         So ICEE is sending a lead in Spain to Mark
 23       Peters, right?
 24                 A.         For clarification, this is around an FCB
 25       program with the ICEE brand, yes.


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   1                Q.         Got it.   The next exhibit, please, Dave.
   2                           (At this time, Plaintiff's Exhibit 3 was
   3      marked for identification purposes.)
   4                Q.         And then is he able to scroll down to see
   5      other pages of it?              Okay.    You want to go back to
   6      the first page?
   7                A.         Yes.
   8                Q.         Sure.   There we go.
   9                A.         And the question?
 10                 Q.         What is this?
 11                 A.         This is an e-mail from Steve Every to Mark
 12       Peters regarding a license for the Japan area.
 13                 Q.         And it looks like you're copied on this
 14       one, right?
 15                 A.         I am copied, I have not read past this
 16       cover page though.
 17                 Q.         Is it accurate to say that ICEE is
 18       proposing a deal with Slush Puppy Ltd. for some
 19       opportunity in Japan?
 20                 A.         As my memory serves me, Mark Peters asked
 21       for some opportunity to do something in Japan and
 22       this is a response from Steve Every to Mark Peters'
 23       request.
 24                 Q.         And is Japan, getting back to the scope of
 25       operations, is Japan one of the countries in Asia in


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   1      which ICEE operates today?
   2                A.         We have licenses on our products in Japan,
   3      yes.
   4                Q.         Okay.   Next exhibit, please, Dave.              This
   5      is Exhibit 4.
   6                           (At this time, Plaintiff's Exhibit 4 was
   7      marked for identification purposes.)
   8                Q.         Exhibit 4, Mr. Fachner, if you can take a
   9      look at that, and again, tell me what that is?
 10                 A.         It looks like somebody is inquiring about
 11       a location or the opportunity for a location in
 12       Spain.          And it looks like this was forwarded to Rod
 13       Sexton, and then Rod Sexton is forwarding it to Mark
 14       Peters with a question mark that says, "Sounds like
 15       a good location perhaps."
 16                 Q.         So ICEE is sending another lead in Spain
 17       to Mark Peters, right?
 18                 A.         Not the way that I read it.
 19                 Q.         Okay.   An opportunity, sending Mark Peters
 20       a potential opportunity in Spain?
 21                 A.         It looks like a communication off of
 22       something that came into an e-mail address to Mark
 23       Peters, asking him if this is a good location.
 24                 Q.         All right.   We can go to the next one,
 25       Dave.


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   1                           (At this time, Plaintiff's Exhibit 5 was
   2      marked for identification purposes.)
   3                Q.         Exhibit 5, Mr. Fachner, would you take a
   4      look at that one and tell me what that is?
   5                A.         This is an e-mail from Rod Sexton to Mark
   6      Peters asking him if he's operating in Greece.
   7                Q.         So, Rod Sexton of ICEE is sending Mark
   8      Peters a potential lead for a distributor in Greece?
   9                A.         Well, I don't see the potential lead, I
 10       see where he's asking him if he has a distributor in
 11       Greece.
 12                 Q.         This doesn't look like a business
 13       opportunity to you?
 14                                 MR. WOLFSOHN:       Objection.      Lack of
 15       foundation.
 16                 Q.         You can answer.
 17                 A.         I think I have answered it, but it feels
 18       like a question from Rod Sexton to Mark Peters on
 19       whether he operates in Greece.
 20                 Q.         Let's go onto the next one, Dave.              This
 21       the Exhibit 6.
 22                            (At this time, Plaintiff's Exhibit 6 was
 23       marked for identification purposes.)
 24                 Q.         Take a look at Exhibit 6, Mr. Fachner, and
 25       tell me what that is?


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   1                A.         This is an e-mail from Rod Sexton dated
   2      3-12-2009, asking Mark if he operates or is
   3      interested in operating in a customer that we have
   4      here in the states, and Auntie Annes is the customer
   5      in the U.K, and then asking the same question of
   6      whether he operates in Greece or in Switzerland.
   7                Q.         And it looks like in addition to the
   8      opportunity presented in Greece that is a lead in
   9      Switzerland that he's sending to Mark Peters, right?
 10       He calls it a customer lead, right?
 11                                MR. WOLFSOHN:      Objection.      Lack of
 12       foundation.
 13                                THE WITNESS:       As it's related to the
 14       U.K., yes.
 15                 Q.         Well, he says "On another note, we have a
 16       customer lead in Switzerland and I think you do
 17       business in parts of Europe.                  Do you want this
 18       lead?"          How was that not him sending Mark Peters a
 19       lead for an opportunity in Switzerland?
 20                                 MR. WOLFSOHN:       Objection.      Lack of
 21       foundation.             Asked and answered.
 22       BY MR. ZALUD:
 23                 Q.         You can answer.
 24                 A.         The same as I answered before, he's asking
 25       the question whether he operates in Greece and in


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   1      Switzerland.
   2                Q.         I'm ready for the next one, Dave.               No. 7.
   3                           (At this time, Plaintiff's Exhibit 7 was
   4      marked for identification purposes.)
   5                Q.         This is Exhibit 7, Mr. Fachner, if you
   6      take a look at that and tell me what that is?
   7                A.         This is an e-mail from Steve Every to Mark
   8      Peters regarding some information that we got from
   9      one of our shows and passing those onto Mark Peters.
 10                 Q.         So it looks like ICEE is sending Mark
 11       Peters leads and he calls them leads, leads in
 12       Norway, the Netherlands and Germany, right?
 13                                 MR. WOLFSOHN:        Objection.      Lack of
 14       foundation.             You can answer.
 15                                 THE WITNESS:         That is where these
 16       leads are from based off this e-mail.
 17                 Q.         Norway, the Netherlands and Germany,
 18       right?
 19                 A.         Yes, that is where these are from, based
 20       off the of the e-mail.
 21                 Q.         All right.   The next one, Dave.            This is
 22       8.
 23                            (At this time, Plaintiff's Exhibit 8 was
 24       marked for identification purposes.)
 25                 Q.         Mr. Fachner, take a look at this and tell


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   1      the me what this one is, Exhibit 8.
   2                A.         This is an e-mail from Steve Every to Mark
   3      Peters talking about, um, discussions around the
   4      opportunity for him to operate in Japan.
   5                Q.         So you and Mark Peters are having,
   6      quote/unquote "top levels discussions" about this
   7      opportunity in Japan?
   8                A.         Mark Peters and I had conversations about
   9      that, yes.
 10                 Q.         And you kept Steve Every in the loop on
 11       those top level discussions, right?
 12                 A.         As Steve became involved in the
 13       international opportunities, yes.
 14                 Q.         And did that Japanese venture ever come to
 15       any fruition?
 16                 A.         No, it didn't.
 17                 Q.         No. 9.
 18                            (At this time, Plaintiff's Exhibit 9 was
 19       marked for identification purposes.)
 20                 Q.         Mr. Fachner, if you can take a look at
 21       this Exhibit 9 and tell me what that is.                      And it's
 22       two pages, so I don't know if you're able to scroll
 23       yourself or you need us to do it?
 24                 A.         I can try.
 25                 Q.         Our reporter says we'll need to scroll for


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   1      you, so tell me when you're done with that page and
   2      we'll scroll to page two.
   3                A.         Well, I think actually you have to go
   4      backwards up for me to understand what this is.
   5                Q.         Right, so we'll go to page two at the
   6      beginning of the string.                 And Mr. Fachner, let me
   7      know when you're done with this page.                    I will ask a
   8      question about this page and then we'll go to the
   9      next page, okay?
 10                 A.         I'm ready for the question.
 11                 Q.         And in the e-mail, September 23, 2008 is
 12       from you, right, to Mark Peters with some CC'd
 13       people, right?
 14                 A.         Yes, it is.
 15                 Q.         And you're presenting Mark Peters with a
 16       possible business opportunity in Belgium?
 17                 A.         For the ICEE branded product, yes.
 18                 Q.         And then let's go to the next, page, Dave.
 19       And this as just a continuation of that string,
 20       right, Mr. Fachner?
 21                 A.         Yes, it is.
 22                 Q.         And the last e-mail from you on the
 23       string, November 9th, 2008, you're telling him that
 24       the venture has "everyone's excitement?"
 25                 A.         Yes, that's what it's saying.


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   1                Q.         Exhibit 10.
   2                           (At this time, Plaintiff's Exhibit 10 was
   3      marked for identification purposes.)
   4                Q.         So, Mr. Fachner, this is Exhibit 10, if
   5      you can take a look at that and tell me what that
   6      is?
   7                A.         An e-mail from Rod to a potential customer
   8      in Greece and then an e-mail from Rod to Mark
   9      Peters.
 10                 Q.         So it looks like Rod Sexton of ICEE is
 11       sending Mark Peters another lead or another
 12       opportunity in Greece, right?
 13                 A.         Yes.
 14                 Q.         No. 11, Dave.
 15                            (At this time, Plaintiff's Exhibit 11 was
 16       marked for identification purposes.)
 17                 Q.         So Mr. Fachner, if you take a look at this
 18       exhibit and tell me what it is?
 19                 A.         A communication with Rod or with Mark
 20       Sexton and an interested party in Switzerland and
 21       then a forward from Rod Sexton to Mark Peters.
 22                 Q.         So, Rod Sexton forwarding Mark Peters
 23       another possible lead in Switzerland?
 24                 A.         Yes.
 25                 Q.         And Rod says to Michelle in the e-mail he


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   1      forwards to Mark Peters, "I have found out that our
   2      ICEE/SLUSH PUPPIE licensee in the UK does have
   3      representation in Switzerland, so it may be very
   4      likely we can accommodate your needs."
   5                A.          It looks like, against our contract, Rod
   6      is discovered that Slush Puppie U.K. is doing
   7      business in Switzerland.
   8                Q.          That's not what he says in the e-mail,
   9      right?          Right?
 10                 A.          That's not what he says in the e-mail?
 11       I'm not sure I understand your question, Eric.
 12                 Q.          That's all I'm saying, he says, quote, "I
 13       have found out that our ICEE/SLUSH PUPPIE licensee
 14       in the UK does have representation in Switzerland,
 15       so it may be very likely we can accommodate your
 16       needs."              So, that's what he's telling this lead in
 17       Switzerland, right?
 18                                  MR. WOLFSOHN:       Objection.      Lack of
 19       foundation.              You haven't established that he's seen
 20       this e-mail before, and it's from 2009.                      I fail to
 21       see the relevance for the hearing.
 22                 Q.          You can answer.
 23                 A.          Yes, that's what Rod found out is that he
 24       has representation in Switzerland.
 25                 Q.          No. 12.


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   1                           (At this time, Plaintiff's Exhibit 12 was
   2      marked for identification purposes.)
   3                Q.         Mr. Fachner, can you take look at this
   4      exhibit and tell me what it is?
   5                                MR. WOLFSOHN:       Objection.      Vague.
   6      You can answer.
   7                                THE WITNESS:        Go ahead and answer
   8      the question?
   9                Q.         Yes, you can go ahead and answer the
 10       question unless Mr. Wolfsohn instructs you not to
 11       answer.
 12                 A.         I'm sorry, I thought I heard David say
 13       don't answer.
 14                                 MR. WOLFSOHN:       No, I said objection.
 15       It's vague when he said what is this about?                         But go
 16       ahead and answer to the best of your ability,
 17       Mr. Fachner.
 18                 Q.         Actually, let me correct that for the
 19       record, I just said, what is this?                  But feel free to
 20       object, but Mr. Fachner, you can answer.
 21                 A.         This is an e-mail from a potential
 22       licensee of shirts, for the -- I'm not sure I know
 23       where it's for.             I'm assuming it would be for the
 24       U.K.        And then an e-mail from me to Mark Peters
 25       informing them of that, and suggesting an


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   1      arrangement for the profits.
   2                Q.         Suggesting that ICEE and Slush Puppie
   3      Limited, splits the profits on this proposed
   4      licensing deal?
   5                A.         Yes, this is a person who is interested in
   6      a licensee that we own for the U.K. area, and out of
   7      respect for the distributor that we have there,
   8      offering up a split in the licensing agreement.
   9                Q.         The next exhibit, Dave, is that 12?                13?
 10       Go ahead.
 11                            (At this time, Plaintiff's Exhibit 13 was
 12       marked for identification purposes.)
 13                 Q.         Exhibit 13, Mr. Fachner, if you could take
 14       a look at that and tell me what that is?
 15                 A.         Could we enlarge that just one step maybe?
 16                 Q.         Sure, we can.
 17                 A.         The bottom half of it, I can't see the top
 18       now, but the bottom half of it is an e-mail from
 19       Steve Every to Mark Peters, sharing some leads that
 20       we got from an IAPPA show in Orlando.
 21                 Q.         And that's a trade show, right?
 22                 A.         It is.
 23                 Q.         And these are leads that Steve Every is
 24       sending to Mark Peters for opportunities in Germany,
 25       Denmark and Finland?


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   1                                  MR. WOLFSOHN:       Objection.        Objection.
   2      Hey, Dan, just let me, just try to pause so I can
   3      get my objections in.               Objection.         Lack of
   4      foundation.
   5                Q.         All right, you answered, so let's move
   6      onto the next exhibit.
   7                           (At this time, Plaintiff's Exhibit 14 was
   8      marked for identification purposes.)
   9                Q.         All right, Mr. Fachner, this is
 10       Exhibit 14, and if you take a look at that, and we
 11       can go through the pages for you, and we will, but,
 12       and you just tell me what that document is?
 13                 A.         This is a syrup manufacturing agreement
 14       with Slush Puppie Corporation.
 15                 Q.         And it's from 1996, right?
 16                 A.         Yes, it's dated here January 1st, 1996.
 17       Executed February 5th, 1996.
 18                 Q.         I want to get some clarity on the
 19       contracting parties names, okay?                      It's my
 20       understanding that the Slush Puppie reference in
 21       this document is the predecessor to ICEE, is that
 22       your understanding?
 23                 A.         Yes.
 24                 Q.         And that the Able Foods entity listed here
 25       is the predecessor to Slush Puppie Limited; is that


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   1      your understanding also?
   2                A.         Yes.
   3                Q.         Okay.   And what was the -- and I'm sorry,
   4      you're familiar with this contract, right,
   5      Mr. Fachner?
   6                A.         I am.
   7                Q.         I'm going to call it the 1996 contract, is
   8      that okay?
   9                A.         Yes.
 10                 Q.         What was the geographic territory of this
 11       1996 contract?
 12                 A.         You're asking me to read the countries
 13       listed there.
 14                 Q.         You don't need to read all of them, but
 15       that's the territory, right, the countries that are
 16       listed on the first page of the 1996 contract,
 17       right?
 18                 A.         Yes, as it reads, the areas shall include
 19       the following geographical entities.
 20                 Q.         And we don't need, you're right, we don't
 21       need to read them all.              And let me ask you, you
 22       know, we talked about some of the European countries
 23       in which ICEE operates.               Does ICEE operate in all of
 24       these European countries that are listed in this
 25       1996 agreement today?


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   1                A.         I don't know if I can adequately answer
   2      that question.
   3                Q.         Okay.   That's okay.        Is it your belief,
   4      Mr. Fachner, that Able Foods, later known as Slush
   5      Puppie Limited has violated some provision of this
   6      contract?
   7                A.         This contract is a syrup manufacturing
   8      contract for them to be able to sell syrups to
   9      distributors in those territories and to my
 10       knowledge, they haven't violated that portion.
 11                 Q.         And when you say "that portion," I want to
 12       just make sure I understand you.                     Does that mean
 13       that you believe that Able Foods, later known as
 14       Slush Puppie Limited has not violated a provision of
 15       this contract?
 16                                 MR. WOLFSOHN:        Dan, make sure you
 17       read the whole thing.              Have you read it?             Are you
 18       able to review the contract?                   He's asking you, yes,
 19       he's asking you about the entire agreement.
 20       BY MR. ZALUD:
 21                 Q.         But let me ask you this, and by-the-way,
 22       we can definitely review it, but, you looked at this
 23       yesterday and you're the CEO of the company involved
 24       in this lawsuit.              In your mind, right now,
 25       Mr. Fachner, do you believe that Able Foods/Slush


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   1      Puppie has violated any clause in this contract?
   2      Just in your mind right now?
   3                                MR. WOLFSOHN:       Take your time and
   4      review the contract, Dan, it's a long contract.
   5                Q.         But I'm asking you, I mean do you think
   6      that ICEE -- do you think Slush Puppie/Able Foods
   7      has violated any of the clauses of this contract?
   8                                MR. WOLFSOHN:       Take your time and
   9      read it, Dan.             Are you referring to after
 10       termination or before termination, sir?
 11                 Q.         I'm not specifying.        I just want to know
 12       if the CEO of the movement for a preliminary
 13       injunction believes any of the clauses in this
 14       contract were violated?
 15                                 MR. WOLFSOHN:       Well, he will go
 16       through it and let you know what's been violated.
 17                 Q.         And Mr. Fachner, in spite of what your
 18       lawyer just said, I don't want you to presume there
 19       has been a violation, I want to know if you think
 20       there has been, all right?                Okay?
 21                 A.         Eric, you have asked the same question
 22       three different ways, I think, but I would like to
 23       do is make sure that I have read this all of the way
 24       through.             My quick answer would be, absolutely, they
 25       have sold syrups around these particular territories


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   1      and into other spots.
   2                Q.         Okay.
   3                A.         So that would be a violation of this
   4      agreement.
   5                Q.         Understood.    And thank you for that.                   So
   6      are you done with page one?
   7                A.         No.
   8                Q.         Okay.   Like Mr. Wolfsohn said, I mean take
   9      the time you need to read it.                      That's fine.
 10                 A.         Okay.
 11                 Q.         Go ahead to page two, yes.           And, while
 12       you're reading, Mr. Fachner, any underlines on this
 13       are mine, so --
 14                 A.         Okay.   Page three.
 15                 Q.         Page three, we'll move, and before you
 16       start, Mr. Fachner, before I forget, just a
 17       follow-up question on something you said before you
 18       started reading the document.                      You said that you
 19       believe that Able Foods/Slush Puppie Limited has
 20       violated this agreement by selling syrup, is that
 21       what you said?
 22                 A.         Could we have the court reporter just
 23       repeat that?
 24                 Q.         Repeat what?
 25                 A.         Well, I'm not sure I even understand your


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   1      question, Eric.
   2                Q.         Well, I asked you, we don't need to repeat
   3      it yet, I mean I remember it.
   4                A.         Well, then just repeat the question.
   5                Q.         Sure.   My question was:        Do you believe
   6      before looking at it, you know, in your mind whether
   7      there's been any violation by Able Foods/Slush
   8      Puppie of this contract?                And your answer, and I'm
   9      paraphrasing was, well, I haven't read it yet, but
 10       off the top of my head, I think that they have sold,
 11       manufactured and sold syrups in violation of this
 12       agreement?
 13                 A.         Slush Puppie's syrups outside of those
 14       territories listed on page one.
 15                 Q.         Okay.   And tell me more about that.
 16                                 MR. WOLFSOHN:        Objection.       Vague.
 17       But you can answer.
 18                                 THE WITNESS:         I don't know if
 19       there's a lot more to tell other than selling Slush
 20       Puppie syrups with the Slush Puppie label outside of
 21       those countries listed.
 22                 Q.         And like where would that be?
 23                 A.         Can you go back to the list?
 24                 Q.         Yes, page one, please.
 25                 A.         I don't know which territories those would


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   1      be off the top of my head today.
   2                Q.         Okay.   So you don't know which territories
   3      outside of the list of territories is the 1996
   4      contract there are in which Slush Puppie/Able Foods,
   5      may have sold syrup, is that an accurate
   6      characterization?
   7                A.         I'm not sure which territories those would
   8      be today as we sit here, I'd have to get some advice
   9      from those people that manage that territory for us.
 10                 Q.         Manage which territory?
 11                 A.         International Slush Puppie business for
 12       the ICEE Company.
 13                 Q.         And the information you would be getting
 14       from them would be what?                What would you be asking
 15       them for?
 16                 A.         The territories where this has been
 17       violated.
 18                 Q.         I didn't catch the last word, we had a
 19       technological glitch there.
 20                 A.         No, the territories where this would have
 21       been violated.
 22                 Q.         Are you, Mr. Fachner, going to know some
 23       of those territories you think were violated between
 24       now and Monday?
 25                 A.         I will ask that question, yes.


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   1                Q.         Could I ask you that if you get any
   2      concrete information on that, you convey it to your
   3      counsel, and he can decide whether he sends it along
   4      to us, but can I ask you that if you look and find
   5      something, can you send it to Mr. Wolfsohn?
   6                A.         Yes, you could ask me.
   7                Q.         Thank you.
   8                           MR. ZALUD:     And David, if he sends
   9      something to you between now and Monday, we'd like
 10       to request it.               You don't need to answer that
 11       request, I'm just making it.
 12                 Q.         Page three, let's go back to page three
 13       now, Dave.
 14                 A.         Okay, page four.       Okay, can you go back
 15       one page, please?               Okay, all right.      Okay.
 16                 Q.         By-the-way were you writing something down
 17       there, Mr. Fachner?
 18                 A.         I was.
 19                 Q.         And what were you writing down?
 20                 A.         A number 17, on page four, I believe it
 21       is, I don't know, I asked you to go back to that
 22       page, so --
 23                 Q.         Okay.    And why is 17 of importance to you?
 24                 A.         I believe it links the two agreements
 25       together.


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   1                Q.         And by the two agreements, do you mean the
   2      1996 agreement and the one that came after this, the
   3      1999 agreement?
   4                A.         That is what I meant, yes.
   5                Q.         Okay.   So let me go back to the question I
   6      asked before you reviewed the document, do you
   7      believe that Able Foods, later known as Slush Puppie
   8      Limited, has violated a specific provision of this
   9      contract?
 10                 A.         I believe this contract gives them the
 11       rights to sell syrups in territories listed on the
 12       page one, and I believe that they have sold syrups
 13       outside of those territories.
 14                 Q.         But you don't know where?
 15                 A.         Not today sitting here, no.
 16                 Q.         Any other violations that you believe were
 17       committed by Able Foods, later known as Slush Puppie
 18       Limited of this 1996 contract?
 19                 A.         From this contract only gives them the
 20       rights to sell the syrups in those territories.
 21                 Q.         So that I understand, so that would be the
 22       only violation of this contract you believe that
 23       you're aware of, right?
 24                                 MR. WOLFSOHN:        Objection.
 25       Mischaracterizes his testimony.


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   1                Q.         That's why I'm asking, so you can correct
   2      me, Mr. Fachner, but go ahead.
   3                                  MR. WOLFSOHN:       Including post
   4      termination, Eric?
   5                                  MR. ZALUD:          Any time.
   6                                  MR. WOLFSOHN:       Okay, thank you.
   7                Q.         Should I repeat it?
   8                A.         Yes.
   9                Q.         Okay, no problem.        You know, we're on
 10       video, but I can see a furrowed brow there.                           So,
 11       that would be the sole violation you see now of this
 12       1996 contract, and that would be your belief that
 13       Slush Puppie/Able Foods sold syrups outside of the
 14       geographic territories listed on page one of this
 15       contract?
 16                                   MR. WOLFSOHN:       Objection.      Compound.
 17       You can answer.
 18                                   THE WITNESS:        That is what I said,
 19       yes.
 20                 Q.         All right.
 21                 A.         I believe it.
 22                 Q.         Okay, let me ask you about something I
 23       underlined, page two, now you see I underlined there
 24       under three it says, "Slush Puppie," and by-the-way,
 25       Slush Puppie would be ICEE as we have established,


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   1      "may cancel and terminate this appointment by
   2      written notice to Manufacturer, Able Foods, for any
   3      one of the following reasons."                       Do you see that?
   4                A.         I do.
   5                Q.         And then it lists some reasons, let's go
   6      to the next page, Dave.               And one of the reasons for
   7      which Slush Puppie, now ICEE, can terminate this
   8      1996 contract is if Able Foods, later known
   9      differently, would file any lawsuit against what was
 10       then Slush Puppie and what is now ICEE, right?
 11                 A.         Correct.
 12                 Q.         So, if I understand that, if ICEE, then
 13       known as Slush Puppie, would have breached this
 14       agreement and Able Foods would have sued ICEE, then
 15       known as Slush Puppie, for that breach, then ICEE
 16       could have terminated this contract; is that right?
 17                 A.         Can you repeat the question?
 18                 Q.         Sure.   I'm just going to call -- I'm going
 19       to say ICEE and Slush Puppie, ICEE being the
 20       corporation here and Able Foods being the
 21       manufacturer as defined in the agreement.                            If my
 22       understanding of this provision of the contract is
 23       that if ICEE were to breach this contract and Able
 24       Foods would sue ICEE for that breach, than ICEE
 25       could terminate the contract?


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   1                                MR. WOLFSOHN:       Objection.
   2      Mischaracterizes the document.
   3                Q.         Well, it's a question, so put a question
   4      mark on the end, I'm just asking you that, Mr.
   5      Fachner.
   6                A.         You can read the document as well as I
   7      can, Eric.
   8                Q.         I know.
   9                A.         I'm getting a little confused with the way
 10       you're supplementing ICEE and Slush Puppie and Able
 11       Foods, because, we're Slush Puppie and they are
 12       Slush Puppie, so I'm getting a little confused of
 13       that, here's what I read, "The voluntary and
 14       involuntary petition of Manufacturer seeking relief
 15       under any provision of any receivership or
 16       bankruptcy law or other law for relief debtors, by
 17       Distributor.             The filing of any legal action other
 18       than for collection on account against SLUSH PUPPIE,
 19       its representatives, distributors, customers
 20       manufacturers, or supplies."
 21                 Q.         Let me do this, I understand what you mean
 22       by confusion.             I'll use the names of the companies
 23       in this document, all right?                  All right?
 24                 A.         Okay.
 25                 Q.         So, if Slush Puppie were to breach this


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   1      contract --
   2                A.         Slush Puppie Corporation?
   3                Q.         Yes, Slush Puppie Corporation, thank you.
   4      If Slush Puppie Corporation --
   5                A.         Is Slush Puppie Corporation in your mind
   6      us?
   7                Q.         Yes, because I'm using the definitions in
   8      the document.             So, if Slush Puppie Corporation were
   9      to breach this contract and Able Foods were to sue
 10       Slush Puppie Corporation for that breach, than Slush
 11       Puppie Corporation could terminate this contract,
 12       right?
 13                                 MR. WOLFSOHN:       Objection.      Dan, if
 14       you have -- if this is not something that you have
 15       thought about, because this is not an issue that was
 16       ever raised by Slush Puppie U.K., Slush Puppie
 17       Limited or Frozen Brothers Limited, if you don't
 18       know, feel free to say, you don't know.
 19                                 MR. ZALUD:          Well, it's in the
 20       briefing and --
 21                                 MR. WOLFSOHN:       No, it isn't, where?
 22                                 MR. ZALUD:          Yes, it's in one of
 23       your briefs, but --
 24                                 MR. WOLFSOHN:       Find our brief, don't
 25       make misrepresentations.


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   1                                MR. ZALUD:          You neither.
   2                                MR. WOLFSOHN:       It's not in our
   3      briefs.
   4                                MR. ZALUD:          It is.    Any way --
   5                                MR. WOLFSOHN:       Dan, you don't have to
   6      answer the question if this is something you haven't
   7      thought about.             You're not an attorney.            We're not
   8      making any representations of your interpretation of
   9      this section of the contract.
 10                                 MR. ZALUD:          I'm not sure I even
 11       understand that.
 12                 Q.         I mean I'm asking you as CEO of the
 13       company what you think of a contract that your
 14       company signed and --
 15                                 MR. WOLFSOHN:       His company didn't
 16       sign it.             He didn't negotiate it.        His company
 17       didn't sign it.             So, there you go again,
 18       misrepresenting things.
 19                                 MR. ZALUD:          Um --
 20                                 MR. WOLFSOHN:       I don't know what's
 21       funny about that.             Where do you see his signature on
 22       this or any of his designees?                   They didn't acquire
 23       the company until 2006.
 24                                 MR. ZALUD:          Right, but I mean are
 25       you saying that your client right now, David, and I


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   1      hate to debate this, but it is not a party to this
   2      contract?
   3                             MR. WOLFSOHN:        No, that's not what
   4      I'm saying.
   5                             MR. ZALUD:           Okay.    Well, I think
   6      so.
   7                             MR. WOLFSOHN:        But he doesn't -- we
   8      are not -- we are not putting Mr. Fachner on the
   9      stand to interpret an agreement.                  That is not the
 10       purpose of what's happening on Monday.
 11                              MR. ZALUD:           Do you believe -- let
 12       me ask you this.
 13                              MR. WOLFSOHN:        Yes.
 14                              MR. ZALUD:           Do you plan on
 15       introducing this document as an exhibit in your case
 16       in chief?
 17                              MR. WOLFSOHN:        Yes, absolutely.
 18                              MR. ZALUD:           Okay.    Well, then, I
 19       should be able to ask about it.
 20                              MR. WOLFSOHN:        Not his subjective
 21       uncommunicated belief about a provision that is not
 22       even at issue or a hypothetical that is not at
 23       issue.          It's not relevant.      I mean you can ask him,
 24       I'm not instructing him not to answer, but I'm
 25       cautioning him not to reveal attorney advice and not


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   1      to speculate about some legal conclusion that he has
   2      no independent thought about.                   Nor would -- I mean
   3      he may have thought about it, he may not have.
   4      Let's see what he says.              But he didn't negotiate
   5      this agreement, and we have never taken the position
   6      that he negotiated the agreement and we have never
   7      taken the position that we signed it.                    Is it
   8      binding?             Yeah, absolutely.      You admitted that.
   9                                MR. ZALUD:          There you go.
 10                                 MR. WOLFSOHN:       Yes.
 11                 Q.         Any way, it looks like, I mean you've been
 12       in this business for a quarter century, I mean it
 13       looks to me like if Mark Peters' company thinks your
 14       company breached this agreement, and files a lawsuit
 15       on it, than your company can terminate this
 16       contract, is that what you think?
 17                            MR. WOLFSOHN:   And, Dan, just to the
 18       extent that your understanding is based on
 19       discussions with counsel, I would instruct you not
 20       to answer on the grounds of attorney/client --
 21       attorney/client privilege and work product doctrine.
 22                 Q.         I just want to know what you think, you're
 23       the CEO of the company that owns this contract, so,
 24       I just want to know what you think?
 25                                 MR. WOLFSOHN:       Again, to the -- this


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   1      is a contract that's in litigation, and has been in
   2      litigation and discussions before that involving
   3      lawyers.             So, Dan, do not reveal any attorney/client
   4      advice or attorney/client work product opinion type
   5      information.
   6                                MR. ZALUD:        Yes, and I agree with
   7      that.         I don't want you to tell me anything
   8      Mr. Wolfsohn or Mr. Marandola told you or discussed
   9      with you, but it's your company's contract, I just
 10       want to know, you know, it's 20 words, I just want
 11       to know what they mean to you?
 12                                 MR. WOLFSOHN:       Well, what they mean
 13       to him is not relevant to the case.
 14                                 MR. ZALUD:          It is, he's a
 15       litigating party to the case.
 16                                 MR. WOLFSOHN:       We're not putting him
 17       on to interpret it, there's been no issue about
 18       ambiguity.
 19                 Q.         Go ahead, Mr. Fachner.
 20                                 MR. WOLFSOHN:       Dan, is there anything
 21       you can say that wouldn't just be attorney opinion?
 22                                 MR. ZALUD:          You don't need to lead
 23       him around like that, you can just object.
 24                 Q.         Go ahead, Mr. Fachner.
 25                 A.         I don't think I would have anything to add


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   1      to this that I haven't discussed with our attorneys,
   2      and feel like that would be attorney/client
   3      privilege.
   4                Q.         Do you understand the two sentences that I
   5      have underlined?
   6                A.         Where are you?     I only see one underlined
   7      sentence.
   8                Q.         Right, go to the prior page, please.
   9                                MR. WOLFSOHN:        "Should this
 10       appointment be terminated, Manufacturer shall
 11       immediately cease using SLUSH PUPPIE trademarks."
 12                 Q.         Okay.   Do you understand this sentence,
 13       "SLUSH PUPPIE may cancel and terminate this
 14       appointment by written notice to Manufacturer for
 15       any one of the following reasons."                   Do you see that
 16       Mr. Fachner?
 17                 A.         I do.
 18                 Q.         And you understand that, right?
 19                 A.         I understand that "SLUSH PUPPIE may cancel
 20       and terminate this appointment by written notice to
 21       Manufacturer for any one of the following reasons."
 22                 Q.         Next page, Dave.      And do you understand
 23       that one of those reasons is "The filing of any
 24       legal action other than for collection on account
 25       against SLUSH PUPPIE, its representatives,


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   1      distributors," et cetera, you understand that
   2      sentence, right?
   3                A.         I do.
   4                Q.         And you understand that as being one of
   5      the ways that Slush Puppie Corporation can terminate
   6      this agreement, right?
   7                A.         Again, I would want to talk to our
   8      attorney to make sure I understand it and not rely
   9      on my representation of it, but I do understand that
 10       as being one of those reasons.
 11                 Q.         Does that seem fair to you?
 12                 A.         It's the contract as it is written, so it
 13       is fair.
 14                 Q.         That by breaching the contract, Slush
 15       Puppie Corporation can then terminate it; is that
 16       fair?
 17                                 MR. WOLFSOHN:       Objection.      That's not
 18       what the contract says.               I mean if you're asking him
 19       is it fair for us to be able to terminate a contract
 20       where Slush Puppie Limited sues on a forged
 21       document?             Obstructs justice -- obstructs justice,
 22       and it and its attorneys engage in criminal conduct,
 23       why don't you ask him that question.
 24                                 MR. ZALUD           Well, that's not the
 25       question I'm asking.


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   1                                MR. WOLFSOHN:       Well, that's the
   2      question you should be asking, and move on.                             Do you
   3      have any questions that aren't attorney/client
   4      privilege or from 2009 or 2010?
   5                Q.         That wasn't attorney/client privilege.
   6      All I asked is if you think it's fair?
   7                                MR. WOLFSOHN:       And he said he thinks
   8      it's fair.
   9                Q.         I didn't hear that.        Do you think it's
 10       fair, Mr. Fachner?
 11                 A.         What I said is that's the contract, which
 12       makes it fair.             Did I not say that?
 13                 Q.         If you did, I apologize, but you said it
 14       now, so --
 15                            MR. WOLFSOHN:     He said it twice.
 16                 Q.         After a lot of prompting.           But let's move
 17       on to the next -- oh, no, hold on.                      Let me ask you
 18       something more about this contract.                      You just read
 19       the whole thing, right?
 20                 A.         In a short order, yes.
 21                 Q.         Does anything in this contract require
 22       Able Foods to turn over Web sites to Slush Puppie
 23       Corporation?
 24                 A.         Well, we may have to go through this one
 25       more time for me to find that.                      I did see a


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   1      provision of things that they would have to turn
   2      over, but I'd have to go back and look again.
   3                Q.         All right.   Do you want to start at the
   4      first page or you tell me, we can adjust.
   5                A.         Start from where we're at.
   6                Q.         Okay.
   7                A.         No. 11 talks about things that they would
   8      have to stop using immediately.
   9                Q.         Do you want to keep looking?          Do you want
 10       to go to a different page or --
 11                 A.         I'm just highlighting 11.
 12                 Q.         So, all right.     I'm reading it, to me it
 13       doesn't say that Able Foods is required to turn over
 14       Web sites to ICEE?
 15                 A.         Well --
 16                                 MR. WOLFSOHN:        Are you testifying?
 17                 Q.         Do you see that there, Mr. Fachner?
 18                                 MR. WOLFSOHN:        He just said they have
 19       to cease using the trademark.
 20                                 MR. ZALUD:           Are you testifying?
 21                 Q.         Do you see anywhere in that sentence you
 22       just read, Mr. Fachner, any contractural verbiage
 23       that requires Able Foods to turn over Web sites to
 24       Slush Puppie Corporation?
 25                                 MR. WOLFSOHN:        Asked and answered.


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   1      You can answer again, Dan.
   2                                THE WITNESS:         Well, I did answer, in
   3      No. 11 it talks about trademarks.                    And what they
   4      would need to turn over.                If you're asking in here
   5      does it say Web site?              It does not say Web site, but
   6      I think that is part of what this would be used for.
   7                Q.         And just so that we're clear, that
   8      sentence -- where does it say you have to turn over,
   9      I don't see that anywhere, is that in there?
 10                 A.         It does not say it like that, no.
 11                 Q.         Do you want to look through other pages?
 12                 A.         Sure.   Let's go back to one.
 13                 Q.         Okay.   You don't have to.
 14                 A.         No, no, let's do it.
 15                 Q.         Okay, that is fine.         Oh, I've got an idea,
 16       while you're looking, could you tell me if there's
 17       anywhere in this contract that requires Able Foods
 18       to inform customers that it has no right to use the
 19       Slush Puppie trademark?
 20                 A.         All right, we can go to page two.                All
 21       right, page three.              I got a fly that wants to -- I
 22       feel like you hired a fly.
 23                 Q.         I'm great at killing them, but I'm not
 24       there.
 25                 A.         "Upon termination, Manufacturer shall


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   1      immediately cease using SLUSH PUPPIE trademarks or
   2      designs, copyrights, patents, tradenames, signs
   3      emblems, insignias, symbols, tokens or other marks
   4      used in connection with SLUSH PUPPIE in any manner
   5      whatsoever."
   6                Q.         That sounds familiar to me, can you direct
   7      me to where you're reading?
   8                A.         No. 11 again.
   9                Q.         Okay.
 10                 A.         We referenced it before, we just didn't
 11       discuss it.
 12                 Q.         All right.
 13                 A.         "Upon termination, Manufacturer shall
 14       immediately cease and desist from further use of any
 15       SLUSH PUPPIE trademarks, names, logos, or references
 16       in any formally approved business name of
 17       Manufacturer shall immediately be changed to delete
 18       any reference to the SLUSH PUPPIE products."
 19                 Q.         And I see it there, and I did not
 20       underline it so you wouldn't see it, I see it there,
 21       but what is the significance of that sentence to
 22       you?
 23                 A.         I think you asked under termination what
 24       that meant and I think this clearly defines what
 25       that means.


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   1                Q.         And it doesn't say that Able Foods has to
   2      turn anything over to Slush Puppie Corporation,
   3      right?
   4                A.         They have to cease using it.
   5                Q.         Right.   Let me know when you want to go to
   6      the next page.
   7                A.         Just to highlight in 12 it says
   8      "Manufacturer shall not during the term of this
   9      agreement, or for two years after conduct any
 10       business which would directly or indirectly aid in
 11       the production, distribution or sale of SLUSH PUPPIE
 12       brand syrups, neutral base or flavors."
 13                 Q.         And in the next sentence permits the
 14       manufacturer to do some other things though, right?
 15                                 MR. WOLFSOHN:        Unrelated to the Slush
 16       Puppie brand.
 17                                 MR. ZALUD:           Is that testimony?               I
 18       mean could we just have the witness answer?
 19                                 MR. WOLFSOHN:        You're really wasting
 20       time, so --
 21                                 MR. ZALUD:           Me?
 22                                 MR. WOLFSOHN:        Yes, the agreement,
 23       you know, we're not offering him.                    We're not
 24       offering him to talk about the negotiations that led
 25       to this agreement.              And Mark Peters has no


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   1      recollection of any such negotiations, so --
   2                              MR. ZALUD:          If want to withdraw
   3      this as an exhibit to your case in chief, he's your
   4      only witness.
   5                              MR. WOLFSOHN:       You seem to be not
   6      understanding the law of contract interpretation and
   7      I'm not going to give you advice.
   8                              MR. ZALUD:          You don't need to.
   9      Please, do not.
 10                               MR. WOLFSOHN:       I obviously do,
 11       because you don't seem to understand the difference
 12       between being able to enforce a contract as opposed
 13       to having somebody stand up and interpret the words
 14       in a contract.           So those are two different things.
 15       Sometimes the negotiating history is relevant,
 16       sometimes there's an ambiguity under the Parol of
 17       evidence rule or other exceptions, but this is not
 18       that case.           But, obviously, there's no rule that
 19       says that because you don't have a witness who was
 20       around at the time of the negotiation, that means
 21       you can't enforce a contract.                 So, no, we're not
 22       withdrawing this.           Yes, we are claiming there's
 23       violations of --
 24                               MR. ZALUD:          I don't want your
 25       testimony on that -- stop.              Stop.


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   1                                MR. WOLFSOHN:        Okay.
   2                                MR. ZALUD:           You stop testifying.
   3                                MR. WOLFSOHN:        You go ask some
   4      questions that are actually about facts.
   5                                MR. ZALUD:           You don't determine
   6      those.
   7                                MR. WOLFSOHN:        Yes, I do.
   8                                MR. ZALUD:           No, you're not the
   9      judge.          You are not the judge.
 10                                 MR. WOLFSOHN:        I will shut it down.
 11       So you have got -- you have got 26 minutes, the same
 12       amount I of time you gave me for Mr. Samoren.
 13                                 MR. ZALUD:         I'm going to ask
 14       questions for as long as I have.                       You're slowing it
 15       down, really.             Could we stop fighting?              Let me just
 16       ask a question.              You're slowing it down.
 17                 Q.         Let's go to the next page.            Are you done
 18       with that page, Mr. Fachner?
 19                 A.         I am.
 20                 Q.         Dave, the next page.            Oh, I'm sorry, one
 21       more question about that sentence you read about the
 22       two years after.              Go back to it, please, Dave.                     You
 23       remember this sentence you read, it's in the
 24       brackets there, Mr. Fachner, you remember that?
 25                 A.         I do.


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   1                Q.         Do you believe that Able Foods violated
   2      that provision?
   3                                MR. WOLFSOHN:       Dan, you can answer to
   4      the extent it is not attorney/client privilege or
   5      attorney work product.
   6                                THE WITNESS:        Well, it is
   7      attorney/client privilege information.
   8                                MR. WOLFSOHN:       Then don't answer.
   9                Q.         Do you know any facts, you, Dan Fachner,
 10       without talking to your lawyers that would lead you
 11       to conclude that Able Foods violated this provision?
 12                                 MR. WOLFSOHN:       When he says "Able
 13       Foods", I think he means Slush Puppie Limited or
 14       Frozen Brothers Limited or its subsidiaries wholly
 15       owned by Ralph Peters & Sons and controlled by Mark
 16       Peters.
 17                 Q.         I don't mean all of that, but I mean the
 18       contracting party, Able Foods, but thank you for
 19       pointing out the Able Foods.
 20                 A.         And your question, Eric?
 21                 Q.         Do you, without any kind of attorney
 22       advice, do you believe there are facts in your mind,
 23       that would lead you to conclude that Able Foods
 24       violated this clause?
 25                 A.         I have seen pictures of equipment in the


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   1      field that still have the Slush Puppie name on the
   2      piece of equipment, that would be confusing for
   3      sure.
   4                Q.         And which pictures?         What pictures have
   5      you seen?
   6                A.         We have provided pictures of a piece of
   7      equipment that still has the Slush Puppie name on it
   8      for service.
   9                Q.         And that would be the machine in Cardiff,
 10       right?
 11                 A.         I'm not sure where that was.
 12                 Q.         Okay.   So, sorry, let's go onto the next
 13       page then, Mr. Fachner?
 14                 A.         Is there a question about this page?
 15                 Q.         Well, you were reading the contract again,
 16       yes, the pending question was for each of these
 17       pages, does it say anywhere in this contract that
 18       there's a requirement for Able Foods to inform
 19       customers that it has no right to use the Slush
 20       Puppie trademark?              I think that's why you were
 21       reviewing it in light of that question.
 22                 A.         The next page.     And then again, Eric, your
 23       question now.
 24                 Q.         Sure.   Does it say anywhere in that 1996
 25       contract that's there's a requirement for Able Foods


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   1      to inform customers that it has no right to use the
   2      Slush Puppie trademark?
   3                A.         I don't see that in here.
   4                Q.         Let's go onto the next exhibit, Exhibit 15
   5                           (At this time, Plaintiff's Exhibit 15 was
   6      marked for identification purposes.)
   7                           (At this time, another court reporter
   8      entered the proceedings until completion.)
   9                Q.         (BY MR. ZALUD)     Mr. Fachner, this is
 10       Exhibit 15.             Could you take a look at that and tell
 11       me what it is?
 12                 A.         It's really poorly copied here, but --
 13       that did not make it much better -- but distributor
 14       agreement, a 1999 distributor agreement.
 15                 Q.         Yeah.   Maybe there's a clearer copy
 16       somewhere.             This was the clearest one I could find,
 17       but I think the subsequent pages are clearer.
 18                 A.         Okay.
 19                 Q.         And to clarify the parties here, this is a
 20       contract between Slush Puppie Corporation, which
 21       later became ICEE; right?
 22                 A.         Correct.
 23                 Q.         And Slush Puppie Limited, the company
 24       affiliated with Mark Peters.                   So I'm just going to
 25       use the names in the contract for questions about


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   1      this contract.               All right?
   2                A.         Okay.
   3                Q.         First question is, what is the territory
   4      encompassed by this contract?                     If you know it,
   5      that's fine.             If not, we can move to the page.
   6                A.         Well, we should move to the page to be
   7      accurate.
   8                Q.         Okay.    It's the last page then.
   9                A.         Territory described, the United Kingdom
 10       and Ireland.
 11                 Q.         So this contract encompasses activities
 12       within those territories, the UK and Ireland?
 13                 A.         Correct.
 14                 Q.         I'm going to try to find a way for us all
 15       to be more efficient with this one, everyone, so let
 16       me ask you this.               Before you look through it, do you
 17       believe that Slush Puppie Limited has violated this
 18       contract?
 19                 A.         Yes.
 20                 Q.         And, you know, we can look through it, and
 21       we will, Mr. Fachner, but tell me in what way you
 22       believe Slush Puppie Limited has violated this
 23       contract?
 24                 A.         They signed distributor agreements for the
 25       Slush Puppie brand in areas outside of the United


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   1      Kingdom and Ireland.             They signed licenses
   2      agreements around the brand that they did not have
   3      the rights to do in places in the UK and Ireland and
   4      outside of those areas for products beyond the scope
   5      of this agreement.
   6                Q.         And what license agreements were those?
   7                A.         Agreements to sell T-shirts and other
   8      types of products that is beyond what the scope of
   9      this agreement is.
 10                 Q.         And do you have any of those?
 11                 A.         You mean do I own some of those?
 12                 Q.         I mean, have you seen any of those?
 13                 A.         Yes, I have.
 14                 Q.         Do you have them in your corporate
 15       possession right now?
 16                 A.         I believe that we do.             I've seen them over
 17       the years.             We've provided that information over the
 18       years.          We've asked them to stop over the years.                            If
 19       it's been sitting here in our archives, I'm not
 20       sure.
 21                 Q.         And if you -- let me ask you this:                     If you
 22       had those, and it sounds like you were saying you
 23       do, those would have been produced in discovery in
 24       this case; right?
 25                 A.         Yes, they would have.


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   1                Q.         All right.    I'm going to have a couple of
   2      questions, very similar to my other ones, about this
   3      contract.             Do you want to look through it before I
   4      ask you them?
   5                A.         Why don't you ask the question, and then
   6      I'll let you know whether I feel like I need to look
   7      through it.
   8                Q.         A fair point.     Does this contract, the
   9      1999 contract, require Slush Puppie Limited to turn
 10       over websites to Slush Puppie Corporation?
 11                 A.         Then we'll need to read through the
 12       contract.
 13                 Q.         All right.    Are you ready for -- should we
 14       go back to -- you read page 1; right?
 15                 A.         We should start at 1.
 16                 Q.         All right.    That's fine.
 17                 A.         Okay.   I read 1.
 18                 Q.         Go ahead.    Go ahead.           And, Mr. Fachner,
 19       maybe another way to save time is I'm going to have
 20       that -- the other question too, is there anything in
 21       this contract that requires Slush Puppie Limited to
 22       inform customers that it has no right to use the
 23       Slush Puppie trademark, so --
 24                 A.         This is really a poor display.
 25                 Q.         Could we enlarge it a little bit more?


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   1                A.         You can give it a shot.
   2                Q.         Let's give it a shot and see what happens.
   3      That seems better.             We'll have to scroll for you.
   4                A.         You know what?     It was easier for me to
   5      read it a little smaller than it is right now.                            If
   6      we could do that.
   7                Q.         Sure.
   8                A.         Thank you.   Rights Reserved under number 3
   9      says, Upon any termination of this agreement,
 10       distributor shall return to company or effectively
 11       destroy all literature, signs, advertising
 12       materials, promotional matters, I believe that says,
 13       and other materials identifying the former
 14       distributor with company or its products and shall
 15       immediately cease to identify itself with company or
 16       use the marks or any confusing similarity thereof,
 17       and shall discontinue -- I'm sorry.                  Some of this is
 18       hard to read -- or change --
 19                 Q.         -- discontinue or change its company name
 20       --
 21                 A.         -- if distributor employed any such
 22       company name or product mark as a part of the
 23       distributor's name, logo, or business.
 24                 Q.         And I think I know the answer, but why is
 25       that important, in your mind?


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   1                A.         You asked if they were to return, and it
   2      says, distributor shall return to company.
   3                Q.         Return the items listed in that sentence;
   4      right?
   5                                  MR. WOLFSOHN:       Objection; asked and
   6      answered.
   7                Q.         (BY MR. ZALUD)      You can answer.
   8                A.         Yes.
   9                Q.         We're near the bottom, so go ahead and let
 10       us know.
 11                 A.         You can go to the next page.           I really
 12       can't read this.               It must be easier on your side
 13       than it is mine, but this just --
 14                 Q.         Yeah.    I mean, the hard copy is easier,
 15       but you're right, that's --
 16                                   MR. WOLFSOHN:       Dan, do you have a
 17       printer there?
 18                                   THE WITNESS:      I have a printer in my
 19       office, yes.
 20                                   MR. WOLFSOHN:       Why don't we just have
 21       him print out a copy of the agreement?
 22                                   MR. ZALUD:          That's fine with me.
 23                                   MR. WOLFSOHN:       So that's something
 24       that you could do, Dan?
 25                                   THE WITNESS:      I think so, yeah.             Do


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   1      you want to send that to me?                    I guess I've got to
   2      figure out how to do that from one computer to the
   3      next here real quick.              Somebody want to send me what
   4      they're using, or do you want me to search for that
   5      --
   6                                MR. WOLFSOHN:         I mean, don't you have
   7      it, the '99 agreement?
   8                                THE WITNESS:        I do, David.
   9                                MR. ZALUD:      You know, David -- let's
 10       go off the record for a minute.
 11                                 - - -
 12                            (Whereupon, a discussion was held off the
 13       record.) - - -
 14                 Q.         (BY MR. ZALUD)      That's better; right?
 15                 A.         Yes, it is.
 16                            (At this time, Plaintiff's Exhibit 16 was
 17       marked for identification purposes.)
 18                 Q.         Okay.   This is Exhibit 16, Mr. Fachner.
 19       Could you take a look at that and tell me what that
 20       is?
 21                 A.         A declaration page from me.
 22                 Q.         And that was submitted in support of
 23       ICEE's motion for preliminary injunction in this
 24       case?
 25                 A.         It was.


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   1                Q.         Okay.    I'm not going to ask you a question
   2      about every line.               I've underlined where I'm going
   3      to ask you questions to save some time.                        Number 9,
   4      next page, Dave -- I think we've already covered 9;
   5      right?          You've listed the countries you were able to
   6      recall where the ICEE -- the Slush Puppie trademark
   7      is registered by ICEE; right?
   8                A.         Yes.
   9                Q.         I mean, I understand you might not know
 10       all of them off the top of your head, but -- then
 11       let's go to number 15, so page 4.                     So I've
 12       underlined a portion of 15 there, and you're
 13       declaring that specifically Slush Puppie Limited
 14       wanted a significantly broader geographic territory
 15       for distribution than the 1999 agreement allowed
 16       for; right?
 17                 A.         Yes.
 18                 Q.         That we've seen that during this era, ICEE
 19       was providing Mark Peters with leads and business
 20       opportunities in Cypress, Greece, Spain,
 21       Switzerland, Norway, Belgium, the Netherlands,
 22       Japan, Denmark, Germany, and Finland; right?
 23                                   MR. WOLFSOHN:       Objection;
 24       mischaracterizes the testimony and the documents.
 25                 Q.         (BY MR. ZALUD)      You can answer.


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   1                                 MR. WOLFSOHN:       You can answer.
   2                A.          Guess while in good faith trying to make
   3      sure his agreement lined up with his actions, we fed
   4      them some leads for territories that we discovered
   5      they were operating in.
   6                Q.          (BY MR. ZALUD)    Number 19, so next page,
   7      please.              So it -- thank you -- it says, To protect
   8      ICEE's in December of 2019, The ICEE Company sent
   9      letters to companies in the UK and Europe that we,
 10       meaning ICEE, believed had agreements with Slush
 11       Puppie Limited for the distribution of Slush Puppie
 12       branded products.              Do you see that?
 13                 A.          I do.
 14                 Q.          And which companies, Mr. Fachner, did ICEE
 15       send these letters to?
 16                 A.          I don't have the list of companies handy,
 17       but they were companies that were either using the
 18       Slush Puppie mark in conjunction with frozen
 19       beverage equipment or companies that were signed up
 20       to licensed products, confectionary licenses, shirt
 21       licenses, things like that.
 22                 Q.          And you said there's a list of those
 23       companies; right?
 24                 A.          There was a list of those companies that
 25       we sent the letter to.


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   1                Q.         Okay.   Do you still have that list?
   2                                MR. WOLFSOHN:         Counsel, we gave you
   3      all those letters, so move on.
   4                                MR. ZALUD:      I'll move on after I hear
   5      an answer to this question.
   6                                MR. WOLFSOHN:         We gave you the
   7      letters.             Why are you wasting his time?
   8                                MR. ZALUD:      I would like to know if
   9      he still has the list.
 10                 A.         Yes, we do.
 11                 Q.         (BY MR. ZALUD)      Moving on to 22, you see I
 12       -- that's my writing there.                   I labeled 22A, and 22B.
 13       Well, we may have already talked about this.                            Never
 14       mind.         We already discussed this in the context of
 15       the contract, so we can skip that.                    I'm busy trying
 16       to save everyone's time.
 17                            Number 25.
 18                                 MR. ZALUD:      And let's show the start
 19       of 25, Dave.             I'm sorry, 24.
 20                 Q.         (BY MR. ZALUD)      And it talks about Rose
 21       Marketing there.              I understand that Rose Marketing
 22       Company, a company that sells candy, is still
 23       displaying Slush Puppie products on its website.
 24       Rose Marketing is not an authorized licensee of
 25       ICEE, but instead appears to have been illegally


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   1      authorized by SPL.               Do you see that?
   2                A.         I do.
   3                Q.         What does that mean, appears to have been
   4      illegally authorized by SPL?
   5                A.         That at one point, Rose Marketing had an
   6      agreement with Slush Puppie Limited to sell products
   7      that Slush Puppie Limited didn't have the rights to
   8      give them.
   9                Q.         And you submitted a second declaration.
 10       Really it looks like it was specifically relating to
 11       Rose Marketing; right?
 12                 A.         We did.
 13                 Q.         All right.    Let's move on from this
 14       exhibit and go to the next exhibit, please.
 15                            (At this time, Plaintiff's Exhibit 17 was
 16       marked for identification purposes.)
 17                 Q.         Do you want to read this, Mr. Fachner?                      I
 18       mean, we -- you are perfectly willing -- you know,
 19       you're perfectly fine with doing it.                     You know, it's
 20       your declaration, but --
 21                 A.         Well, let's hear the question and --
 22                 Q.         Sure.   Yeah.     I get it.
 23                 A.         If you could go back and read it again.
 24                 Q.         I get it.    My interpretation of this
 25       declaration, tell me if I'm right or wrong, is that


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   1      as of the date of this second declaration, ICEE has
   2      no complaint now against Frozen Brothers relating to
   3      Rose Marketing in these preliminary injunction
   4      proceedings; is that accurate?
   5                A.         I had my dates wrong in the original
   6      declaration.             We had sent out these letters that you
   7      referenced earlier, and then we signed a legal
   8      license agreement with them, and I believe that was
   9      in October or so, and when I wrote the declaration,
 10       we had already done that, and so I'm correcting my
 11       dates on this.
 12                 Q.         Understood.   And so, I mean, for purposes
 13       of our hearing Monday, you have no complaint right
 14       now about ongoing activities of Frozen Brothers
 15       related to Rose Marketing; is that accurate?
 16                                 MR. WOLFSOHN:         Objection; asked and
 17       answered.             Mischaracterizing his testimony.
 18                                 MR. ZALUD:      That's why I wanted to
 19       clear that up.
 20                 Q.         (BY MR. ZALUD)      You can go ahead.
 21                                 MR. WOLFSOHN:         You can answer the
 22       question.
 23                 A.         We do not have any claims upon them.
 24       That's been cleared up.
 25                 Q.         (BY MR. ZALUD)      Thank you.     And were any


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   1      other statements in your first
   2                           Declaration wrong also?
   3                A.         Certainly not that I'm aware of.
   4                Q.         All right.   I appreciate the correction of
   5      the second declaration.               Thank you.
   6                           Let's go to the next exhibit.
   7                           (At this time, Plaintiff's Exhibit 18 was
   8      marked for identification purposes.)
   9                Q.         So, Mr. Fachner, these are the
 10       interrogatory responses submitted by your counsel on
 11       behalf of ICEE, specifically with regard to the
 12       preliminary injunction hearing.                      I'm going to go
 13       through them, and if I pause, it's just because we
 14       may have already covered things and I won't need to
 15       ask you questions.
 16                                 MR. ZALUD:     Let's go to the next
 17       page, Dave.
 18                 Q.         (BY MR. ZALUD)     So number -- interrogatory
 19       number 42 -- yeah.             I'm going to go to your answer,
 20       which is -- I think is on the next page, so go
 21       ahead.
 22                                 THE WITNESS:       Whoever is blowing that
 23       up, it can stay the size that it is for me.                             It
 24       would be better than the expanded size.
 25                 Q.         (BY MR. ZALUD)     Got it.        And that


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   1      sentence, it starts on the prior page, it says, Mr.
   2      Fachner will testify about the irreparable harm that
   3      ICEE has suffered and will suffer if the requested
   4      injunction is not entered, including lost sales
   5      opportunities, lost retailer/customer relationships,
   6      and the loss of control over the Slush Puppie brand
   7      in Europe and the UK.             Do you see that?
   8                A.         Yes, I do.
   9                Q.         So what lost sales opportunities are you
 10       referencing there?
 11                 A.         The opportunity to be able to sell Slush
 12       Puppie in those territories, and not to have it
 13       confused by it being retired or put out to pasture
 14       or misrepresented.
 15                 Q.         And just so I'm clear, ICEE is operating
 16       in those territories; right?
 17                 A.         We have now signed an agreement, a new
 18       agreement, with somebody to operate in those
 19       territories.
 20                 Q.         And is there any specific sales
 21       opportunities that you can identify that ICEE has
 22       lost?
 23                 A.         I would identify every retailer that had
 24       the Slush Puppies brand on it that has been told
 25       that it has been retired or put out the pasture is a


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   1      lost opportunity.
   2                Q.         Do you have any specific names?
   3                A.         We have had specific questions, that we've
   4      provided emails from customers who are interested in
   5      the Slush Puppie brand that were confused by the way
   6      that it had been handled.
   7                Q.         Okay.   So I'll have a couple question
   8      about those.             And then maybe you already answered
   9      this too, but it says you're going to testify that
 10       ICEE has lost retailer customer relationships.                              Is
 11       that the same thing as the lost sales opportunities
 12       we just discussed?
 13                 A.         Where are you highlighting that?
 14                 Q.         It's -- I was about to point to it on my
 15       point screen.             It's in that underlined portion.
 16                 A.         It's the same sentence.         I see it.          Failed
 17       opportunity, loss of retail customer relationships.
 18       That absolutely is the same point as I have already
 19       made.         When those customer -- retail customer
 20       relations have been misled, that certainly requires
 21       us to go back out there and undo those false
 22       accusations that it's been retired, that it's been
 23       put out to pasture.
 24                 Q.         And those specific retailers are going to
 25       be in the emails that were produced; right?


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   1                A.          Again, I would argue every customer.
   2                Q.          And then it says you'll testify about --
   3      and I'm still on that same underline -- the loss of
   4      control over the Slush Puppie brand in Europe and
   5      the UK.              I just want to understand what you mean by
   6      that.
   7                A.          Well, I would refer to those domains that
   8      haven't been turned over to us, and/or go to a
   9      domain, it's a dead end.                 And so as you go to a dead
 10       end, a person would naturally assume that this brand
 11       no longer exists.
 12                 Q.          Got it.   I underlined 44, but we can skip
 13       that.
 14                                  MR. ZALUD:     So, Dave, next page, and
 15       let's move on to page 6.
 16                 Q.          (BY MR. ZALUD)     And that is -- that's
 17       number 45.              And, Mr. Fachner, if it's okay, I'll
 18       just read you what that interrogatory is and ask you
 19       about a portion of your answer.                       Want to try that?
 20                 A.          Sure.
 21                 Q.          Okay.   With respect to ICEE's allegations
 22       that Slush Puppie devalued ICEE's brand by holding
 23       onto domain names using the name Slush Puppie, state
 24       a detailed description of all facts that support
 25       that allegation, persons with knowledge of it, and


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   1      documents that support it.                 So that's the question.
   2      And I just had a question for you about a part of
   3      that answer.             And I underlined it.
   4                           The answer of ICEE to that is, in part,
   5      SPL, however, is attempting to thwart those efforts
   6      by informing retailers that Slush Puppies products
   7      are no longer available in the UK, Ireland, and
   8      Europe, and instead attempting to convince retailers
   9      to switch to SPL's new Slushy Jack product.                              Do you
 10       see that?
 11                 A.         I do.
 12                 Q.         The first part of that that's not
 13       underlined, what -- which retailers are you aware of
 14       that SPL informed that Slush Puppie products are no
 15       longer available in the UK, Ireland, and Europe?
 16                 A.         Well, they sent a letter out to all of
 17       their customers.
 18                 Q.         Okay.   So the letter is what you're
 19       referring in this part of the sentence; right?
 20                 A.         Absolutely part of what we're referencing,
 21       sure.
 22                 Q.         Okay.   And then you said that, Instead --
 23       and this is the part I underlined, Slush Puppie --
 24       SPL is attempting to convince retailers to switch to
 25       SPL's new Slushy Jack product.                       Do you see that?


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   1                A.         I do.   I do.
   2                Q.         No.   I heard you.         I mean, isn't that just
   3      -- isn't that part of it, just competition in the
   4      marketplace?
   5                A.         I don't know if that was a question or a
   6      statement.
   7                Q.         I'm asking you, isn't attempting to
   8      convince --
   9                                 MR. WOLFSOHN:          He's asking -- he's
 10       trying to convince you they are forgeries, they're
 11       blatant illegal conduct, they're a violation of the
 12       contracts, they're a willful violation of trademark
 13       law, their defamation of your company is okay.                                 So
 14       that's the question on the table.                       Isn't that just
 15       normal competition?              Yeah.        The same way when you
 16       guys supporting perjury and litigating a case that
 17       you know contains fraudulent documents, that's just
 18       practicing law.
 19                                  MR. ZALUD:       Tremendous speech, David.
 20                 Q.         (BY MR. ZALUD)        Anyway, that wasn't my
 21       question.             Your lawyer doesn't know my question.
 22                            My question is:        Isn't attempting to
 23       convince retailers to switch to SPL's to a new
 24       Slushy Jack product, isn't that part of just
 25       competition in the marketplace?


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   1                                MR. WOLFSOHN:       Are you going to send
   2      us those communications, Counselor?                  You haven't
   3      sent us any other than two from Ms. Peters.                         Are you
   4      going to send us the emails?
   5                Q.         (BY MR. ZALUD)    You can answer.
   6                                MR. WOLFSOHN:       Are you going to send
   7      it to us?             You going to produce it?
   8                Q.         (BY MR. ZALUD)    You can answer, Mr.
   9      Fachner.
 10                 A.         Not in the fashion in which they have done
 11       it, no.
 12                 Q.         But you recognize -- you've been in the
 13       business for a long time.               I mean, beverage
 14       manufacturers can and do compete with one another;
 15       right?
 16                 A.         I've never had a distributor so blatantly
 17       abuse a court system in the way that this
 18       distributor has.             And so, no, I've never faced
 19       competition of a fashion where they have held at bay
 20       in a court system a brand while they were able to
 21       convince customers to put in a different brand by
 22       blatantly saying this brand is old and tired -- is
 23       going to be retired.             Not that I don't own it
 24       anymore, not that I can't provide it for you any
 25       longer, but that it's retired and put out to pasture


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   1      while we provide in the court system a legal
   2      document that was forged.                 No, that is not the kind
   3      of competition, Eric, that I have ever faced.
   4                Q.         Got it.
   5                A.         And I have faced a lot of great
   6      competitors to date.               None of them have ever lied to
   7      the court system while they run out and put up the
   8      different brand on equipment and call it fair
   9      competition.
 10                 Q.         Understood.
 11                 A.         I don't know.     I don't know if you do by
 12       the question that you asked me.
 13                                 MR. WOLFSOHN:         He does not understand
 14       it.       He thinks what he's doing is fine.
 15                                 MR. ZALUD:      Yeah.       Asking questions
 16       is fine.
 17                                 MR. WOLFSOHN:         Supporting perjury,
 18       aiding and abetting, obstruction of justice, you
 19       think that's fine?             Apparently, you do, because you
 20       did it again this morning.                  After all we've been
 21       through, you did it again this morning.
 22       Unbelievable.             And having an associate go and
 23       represent the guy because you knew he was going to
 24       lie and he had sworn out a false affidavit, you, as
 25       a partner, sending that associate.                      Shame on you.


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   1      Shame on you.
   2                                MR. ZALUD:     Well, let me know when
   3      you're done.
   4                                MR. WOLFSOHN:        I'm done.
   5                                MR. ZALUD:     Thank you.
   6                Q.         (BY MR. ZALUD)     Let me ask you this, Mr.
   7      Fachner:             Aren't they supposed to change the brand?
   8      I mean, isn't that what they're supposed to do?
   9      They're supposed to stop using the Slush Puppie
 10       brand; right?
 11                 A.         Yes, they are supposed to stop using the
 12       Slush Puppie brand.
 13                 Q.         Okay.   Let's go to --
 14                 A.         Not partially, entirely.        Not when they
 15       choose to, everywhere.              Not in bits and pieces, but
 16       everything.             Not some ways, but always.           Not where
 17       convenient.
 18                 Q.         And do you believe they're still using the
 19       brand somewhere today as you and I talk?
 20                 A.         You didn't see the picture we talked about
 21       earlier where there was Slush Puppie in some way, in
 22       any way on that machine?                Did you see that?
 23                 Q.         I saw the picture.        It was on some
 24       nameplate in the back, but it was there.                       I agree.
 25                 A.         It was on a nameplate just for


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   1      clarification, on a nameplate, on a piece of
   2      equipment that had Slushy Jack all over it.                               That's
   3      not confusing?
   4                Q.         I saw it.    So anyway, let's move to page
   5      8, which is -- there we go.                   I bracketed that
   6      because it's too long to read.                        SPL's continued
   7      Slush Puppie presence on social media is unlicensed
   8      and unauthorized by ICEE -- and I'm not going to
   9      read the rest of it.               I mean, my only question to
 10       you there is, what did you mean by SPL's continued
 11       Slush Puppie presence on social media?                          What do you
 12       mean by that?
 13                 A.         Excuse me.    I have gotten something caught
 14       in my throat all of a sudden.
 15                 Q.         No problem.
 16                 A.         Their use of the websites and not turning
 17       over the domains of those.
 18                 Q.         So that's what you mean by social media in
 19       this phrase?
 20                 A.         Yes.
 21                 Q.         By the way, if you need to get a drink of
 22       water just -- oh, got it.                 Good.
 23                            Let's go to page 10.             So we were talking
 24       about -- I think this is the machine we were talking
 25       about.          Is that right, Mr. Fachner?


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   1                A.         Yes.    Although, again, there is a picture.
   2      It's hard for me to see, but we'll see what your
   3      question reads.
   4                Q.         That was -- that was my only question on
   5      that.         And then the next page has, I think, what you
   6      were referring to.
   7                                  MR. ZALUD:    So, Dave, go ahead.
   8                A.         Okay.
   9                Q.         (BY MR. ZALUD)      And so is that what you
 10       were referencing, where it's got the reference to
 11       Slush Puppie 300 milliliters there?
 12                 A.         Yes.
 13                 Q.         So as part of the relief that ICEE is
 14       seeking for this preliminary injunction, you would
 15       want that portion of what's labeled on this machine
 16       to be either removed or painted over or in some
 17       fashion where the Slush Puppie name would not be
 18       visible to people in the store; is that accurate?
 19                 A.         Well, it's part of the contract that we
 20       went through during this deposition that said that
 21       all of that would have to be turned over and
 22       released.             Absolutely I would not want Slush Puppie
 23       confused with Slushy Jack.                  I would not want someone
 24       to have the authority to water down our name while
 25       they're out there presenting their own.


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   1                Q.          So turned over or returned or destroyed;
   2      right?
   3                A.          Yes.
   4                Q.          Okay.
   5                A.          However it was described in that
   6      paragraph.
   7                Q.          We're done with that exhibit, but hold on.
   8      Let me -- let's go to the next exhibit.                        This is
   9      Exhibit 19.
 10                             (At this time, Plaintiff's Exhibit 19 was
 11       marked for identification purposes.)
 12                 Q.          Mr. Fachner, you haven't seen this, but
 13       you can take a look at it and then I'll have a
 14       couple of questions to you about it.
 15                 A.          Could I see who it's from and to?
 16                 Q.          Sorry.    Just scroll down a little bit.                   We
 17       see the top on the screen, but not the from.
 18                                    MR. WOLFSOHN:       What's the date?
 19                                    MR. ZALUD:    August 24th, 2021.
 20                 Q.          (BY MR. ZALUD)      So I don't know what we
 21       can do here.              I mean, it -- the one line you're not
 22       seeing is the sent -- the date above this Jonathan
 23       Perry line, August 24, 2021, and the from, Kevin
 24       Scoles at Frozen Brothers, so we can't get it on the
 25       screen.              I could ask you a couple of questions, but


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   1      if you're not comfortable with that, I won't.
   2                A.         Let's try them and I'll tell you if I'm
   3      comfortable.
   4                Q.         Okay.
   5                                MR. WOLFSOHN:       Well, you know, I
   6      mean, this is some email that you haven't produced
   7      to us, so I'm instructing him not to answer.                             You
   8      can't manufacture this thing, after Laura Peters'
   9      deposition, send out this note, and then spring it
 10       on us at a deposition when you haven't produced it.
 11       So he's not answering any questions about this.
 12                                 MR. ZALUD:    You didn't have any
 13       discovery requests.
 14                                 MR. WOLFSOHN:       I don't care.
 15                                 MR. ZALUD:    I know you don't.
 16                                 MR. WOLFSOHN:       We have all kinds of
 17       discovery requests.             We absolutely do.
 18                                 MR. ZALUD:    Yeah, but not related to
 19       the preliminary injunction hearing.
 20                                 MR. WOLFSOHN:       Well, I'm not -- I
 21       stand by my instruction.               I'm not going to argue
 22       with you.
 23                 Q.         (BY MR. ZALUD)    Okay.        Let me ask you
 24       this, Mr. Fachner:             Hypothetically, if someone were
 25       to peel off that Slush Puppie sticker from that


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   1      machine, would that alleviate your concerns about
   2      that particular machine?
   3                                MR. WOLFSOHN:         Objection; vague.
   4                Q.         (BY MR. ZALUD)      You can answer.
   5                A.         I'd answer it completely different, Eric.
   6      I would never expect that somebody would put a
   7      different name and my name on one machine, and at
   8      that point, it's unacceptable to me because that
   9      creates confusion in the marketplace and is unfair
 10       competition while destroying the Slush Puppie brand.
 11                 Q.         Understood.   Are you saying there would be
 12       no way to -- how would you correct that?
 13                 A.         I wouldn't have done it to begin with.                       I
 14       wouldn't use those kind of tactics.                      And I've been
 15       in business, as you said, for a long time, and I've
 16       never had anybody do that before.
 17                 Q.         So in your view, that -- having that
 18       sticker on there is not correctable, it's not
 19       correctable by taking the sticker off?
 20                 A.         In my view, it's done damage to the Slush
 21       Puppie brand.
 22                 Q.         Let's skip the next one.
 23                                 MR. ZALUD:      I'm saving us time, Dave.
 24                                 THE VIDEOGRAPHER:           We're going to 21?
 25                                 MR. ZALUD:      Yeah.       Oh, they're


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   1      already labeled?
   2                                 THE VIDEOGRAPHER:         They've been
   3      labeled on this.
   4                                 MR. ZALUD:    Got it.
   5                                 (At this time, Plaintiff's Exhibit 21
   6      was marked for identification purposes.)
   7                Q.          (BY MR. ZALUD)    Mr. Fachner, this is -- I
   8      believe this is a chart that you compiled and
   9      produced in this case.              Is this what it is?
 10                                  MR. WOLFSOHN:       Yeah.    And he was
 11       already examined on this, so do you have anything
 12       that wasn't gone over in the second deposition on
 13       this?
 14                 Q.          (BY MR. ZALUD)    Aren't these your damages
 15       for the actions of Slush Puppie Limited?
 16                                  MR. WOLFSOHN:       I instruct you not to
 17       answer.              Just because you're the new kid on the
 18       block, although you weren't the original lawyer on
 19       this case, doesn't give you the right to take up a
 20       CEO's time asking questions about a document that
 21       was already marked at his deposition in October.                                 So
 22       you can read that transcript.                    You also have -- I
 23       assume Mr. House is still at your firm.                        You can
 24       call him up and talk to him.
 25                                  MR. ZALUD:    I hope you get paid by


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   1      the word.
   2                Q.         (BY MR. ZALUD)    Are these the damage
   3      categories that you're --
   4                                MR. WOLFSOHN:       I know you get paid by
   5      the forged word and the perjurious word.
   6                Q.         (BY MR. ZALUD)    Are you -- I could answer
   7      all of these, but I'm not.                Are you, Mr. Fachner,
   8      claiming damages other than these that you already
   9      laid out in this hearing on Monday?
 10                                 MR. WOLFSOHN:       Those damages are not
 11       for this hearing.
 12                                 MR. ZALUD:    I'm just asking the
 13       witness, not you.
 14                                 MR. WOLFSOHN:       Objection.      The
 15       question makes no sense.               Damages are not for a
 16       preliminary injunction hearing.
 17                 Q.         (BY MR. ZALUD)    Go ahead.     You can answer.
 18                 A.         You want to ask the question again?
 19                 Q.         Aren't these the categories of damages
 20       you're claiming in your preliminary injunction
 21       motion?
 22                                 MR. WOLFSOHN:       I don't know what
 23       you're talking about.             These are damages.            You
 24       already asked him about this.
 25                 Q.         (BY MR. ZALUD)    Don't these represent lost


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   1      sales and lost customers, these numbers you got
   2      here, Mr. Fachner?
   3                A.         They do.    I'm not saying this is inclusive
   4      of all damages.
   5                Q.         Understood.    Let me ask you this before we
   6      go to the next one.               Maybe we can save some time.
   7      We can agree, you tell me, that there's lots of
   8      third-party marketplaces and services out there
   9      selling products that have the Slush Puppie logo on
 10       them; right?             Like Amazon, eBay, Red Bubble, others
 11       like that?
 12                                 MR. WOLFSOHN:         Objection; vague.
 13                 A.         I'm not really sure how to answer the
 14       question you just asked.                 Are there other places in
 15       this world selling things that have the Slush Puppie
 16       logo on it?             Authorized licenses?           Yes.
 17                 Q.         (BY MR. ZALUD)      All right.          Let's go to
 18       the next exhibit.               Exhibit --
 19                                 THE VIDEOGRAPHER:           22.
 20                                 (At this time, Plaintiff's Exhibit 22
 21       was marked for identification purposes.)
 22                 Q.         (BY MR. ZALUD)      So this is an example of
 23       something I'm talking about, Mr. Fachner.                              I don't
 24       want -- you know, there are a lot of pages here.                                     I
 25       don't want to go through all of it, but it's a


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   1      company called Argos.              I mean, we can agree that
   2      there is third-party companies like this selling
   3      Slush Puppie -- they look like branded products.
   4      Can we agree on that?
   5                                 MR. WOLFSOHN:       Objection.          The
   6      document hasn't been produced.                       I don't know what it
   7      is.
   8                Q.         (BY MR. ZALUD)     Go ahead.
   9                A.         We have licensed authorized partners
 10       selling Slush Puppie products, yes.
 11                 Q.         Is Argos one of those?
 12                 A.         I assume they are.
 13                 Q.         How about eBay?
 14                 A.         EBay branded products?
 15                 Q.         No.   EBay selling Slush Puppie branded
 16       products.
 17                 A.         Do you have something you want to show me?
 18                                  MR. ZALUD:    Yeah.         Skip the next page
 19       and go to the third page.
 20                 Q.         (BY MR. ZALUD)     So does ICEE have a
 21       license agreement with eBay?
 22                 A.         We do not have a license agreement with
 23       eBay.         We might have a license agreement with who
 24       eBay is buying this from.
 25                 Q.         And that would -- that could apply to


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   1      Amazon also; correct?
   2                A.          Well, again, both eBay and Amazon, they'll
   3      produce or manufacture the products in which they
   4      sell.         So absolutely could something that we have an
   5      authorized license with be selling through eBay or
   6      Amazon?              Yes.
   7                Q.          How about someone you don't have an
   8      authorized license with?
   9                A.          Whenever we discover somebody that we
 10       don't have one, we write them a cease and desist
 11       letter, and if they cease and desist, then we move
 12       on, if not, then we carry it further.                     Any great
 13       brands have people who try to knock them off and you
 14       are constantly having to put back those brands.
 15                 Q.          Thank you.
 16                                   MR. ZALUD:     And we'll go to the next
 17       exhibit, Dave.
 18                                   (At this time, Plaintiff's Exhibit 23
 19       was marked for identification purposes.)
 20                 Q.          (BY MR. ZALUD)      So these next few are
 21       emails that you referenced earlier that were
 22       produced in discovery for this preliminary
 23       injunction hearing.                We served discovery requests.
 24       So let's -- I think this is three pages, Mr.
 25       Fachner.              We'll go from the -- is it easier for you


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   1      if we start at the last page, which is the first in
   2      the chronology and go forward?
   3                A.         Yes.
   4                Q.         Okay.
   5                                  MR. ZALUD:    Let's do that, Dave.
   6                Q.         (BY MR. ZALUD)      So that's the -- that's
   7      the last page.               Are you ready for us to move to the
   8      next page?
   9                A.         I am.
 10                                   THE VIDEOGRAPHER:          Okay.     Okay.
 11                 Q.         (BY MR. ZALUD)      Okay.        So what does this
 12       email string represent?
 13                 A.         I'm assuming that this was from a customer
 14       who was interested in a machine, that's why we
 15       presented a picture to it, and then forwarded it
 16       over, ultimately, to our new licensee.
 17                 Q.         And are you saying this exhibit somewhat
 18       demonstrates confusion between ICEE and Frozen
 19       Brothers?
 20                 A.         In this particular email you're asking me,
 21       again, if I see -- if I'm saying what?
 22                 Q.         I want to understand if you -- this was
 23       produced in -- for this preliminary injunction, so
 24       I'm just asking you if you believe that this email
 25       string demonstrates some type of confusion between


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   1      ICEE and Frozen Brothers?
   2                A.         I don't know if I have the full context of
   3      this email.
   4                Q.         You see any evidence of confusion in this
   5      exhibit that was produced, though; right?
   6                A.         I see a picture previously of a Slush
   7      Puppie machine.
   8                Q.         But do you see any evidence of confusion
   9      by this potential customer between ICEE and Frozen
 10       Brothers from this exhibit here?
 11                 A.         Go back to the previous page.           Doesn't say
 12       much either.
 13                 Q.         Right.   I mean, there's no evidence of
 14       confusion from the four corners of this exhibit, is
 15       there?
 16                 A.         As you are showing me this exhibit, I
 17       don't see the correlation there.
 18                 Q.         It's also from the Maldives; right?
 19                 A.         Yes, it is.
 20                 Q.         And accurate to say the Maldives -- some
 21       say Maldives are not in the territory of either the
 22       1996 contract or the 1999 contract?
 23                 A.         Correct.
 24                 Q.         And does ICEE even have the mark
 25       registered in the Maldives?


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   1                A.          I don't know that today.
   2                Q.          Okay.    Let's go to the next exhibit.
   3                                   (At this time, Plaintiff's Exhibit 24
   4      was marked for identification purposes.)
   5                Q.          And again, Mr. Fachner, this is -- it's a
   6      string, so I'm presuming, like the others, it would
   7      be easier for you if we start at the last page and
   8      you read and we go chronologically through the
   9      string.              Is that okay?
 10                 A.          Yes.
 11                 Q.          Okay.    Good.
 12                                    MR. ZALUD:       So go to the last page.
 13                                    THE VIDEOGRAPHER:            Okay.
 14                 Q.          (BY MR. ZALUD)         We can blow that up, if
 15       you want.
 16                 A.          Sure.    Why don't you do that.               Okay.
 17       Okay.
 18                 Q.          Were you shaking your head a little bit?
 19       I thought I saw you shaking your head when you were
 20       reading it.
 21                 A.          I might have been.
 22                 Q.          And why was that?
 23                 A.          Maybe I was chasing the fly around the
 24       room.         I'm not sure.         I'm not watching myself read.
 25       I was watching the page.


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   1                Q.         No problem.     I can't fault concentration.
   2      I just have a few questions about this.                           In general,
   3      Mr. Fachner, could you tell me what it is?
   4                A.         It's a trial, so do you want to go back to
   5      the beginning then?
   6                Q.         Yeah.   Sure.     I mean, you know, if that's
   7      your easier -- easier way to explain it, go right
   8      ahead.
   9                                MR. WOLFSOHN:           Counsel, are you
 10       marking these exhibits?                  And are you -- are you
 11       going to give us copies of them?
 12                                 MR. ZALUD:        We're marking them and
 13       we're going to give them copies; right?
 14                                 THE VIDEOGRAPHER:             All these are
 15       numbered.
 16                                 MR. ZALUD:        Yeah.
 17                                 THE VIDEOGRAPHER:             And we can block
 18       them further, but they've all been numbered by your
 19       office prior to.
 20                                 MR. ZALUD:        Do you hear -- let's go
 21       -- we're off the record.
 22                                 - - -
 23                            (Whereupon, a discussion was held off the
 24       record.) - - -
 25                 Q.         (BY MR. ZALUD)        Why don't I just ask you a


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   1      couple of questions about it.                     First of all, it's
   2      dated -- the page we're looking at is dated February
   3      11, 2021; right?
   4                A.         Yes.
   5                Q.         So about six months or so ago; right?
   6                A.         Yes.
   7                Q.         Okay.    And it looks to me, and you tell
   8      me, it looks like Frozen Brother is telling this
   9      Maltese Company that it is rebranding?
 10                 A.         It does look that way.           Maybe you can go
 11       back to that page if you're going to ask about that
 12       page.
 13                 Q.         Yeah.    Don't hesitate to call that out.
 14                                   MR. ZALUD:    So, Dave, the second
 15       page, please?
 16                 Q.         (BY MR. ZALUD)      Is that the page, Mr.
 17       Fachner?             It's probably the second and the third
 18       page.
 19                 A.         Yes.    It look likes this is from some
 20       Rodrigo at Frozen Brothers to an illegally licensed
 21       distributor in a particular territory --
 22                 Q.         And --
 23                 A.         -- falsely describing that they have to
 24       change from Slush Puppie to be able to use a
 25       different kind of product.                  Like three kinds of


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   1      wrong in this.
   2                Q.         And can you see this page?
   3                                MR. ZALUD:    Could we blow this up for
   4      Mr. Fachner, the one that's on there?                   Let's scroll
   5      up somehow.
   6                Q.         (BY MR. ZALUD)    It looks like Frozen
   7      Brothers tell this Maldives Company that they've got
   8      to change all their Slush Puppie branding on
   9      everything; right?
 10                 A.         Yes, including websites here even.               So
 11       they do recognize that websites need to be turned
 12       over and changed.             It's interesting.
 13                 Q.         Business cards, emails, machines,
 14       vehicles, social media, websites; right?
 15                 A.         Websites, social media even.         Yes.
 16                 Q.         So in other words, isn't this what they're
 17       supposed to be doing in your view or no?
 18                 A.         They weren't supposed to be operating in
 19       that territory.
 20                 Q.         But is this what they're supposed to be
 21       doing now?             Isn't this what they're supposed to be
 22       doing, is saying exactly what you've asked, if
 23       they're not associated, they got to rebrand --
 24                                 MR. WOLFSOHN:       Are you giving us the
 25       websites?             The website that Peter Splat, who's on


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   1      this email, has custody of?                 Are you going to give
   2      it to us?
   3                                MR. ZALUD:    I'm just asking --
   4                                MR. WOLFSOHN:       It's outrageous.
   5                                MR. ZALUD:    I'm just asking the
   6      question.
   7                                MR. WOLFSOHN:       It's outrageous.                It
   8      is beyond despicable.             This is Peter Splat, who you
   9      say you don't know who he is, who has the website
 10       that we've been trying to get.                      So give it to us.
 11       Why don't you give us the websites?                      Why don't you
 12       give us the Twitter account that Mark Peters was
 13       posting to a year and a half ago, and that then you
 14       had this poor Abi Sononum (phonetic) lie about it in
 15       declaration submitted in federal court.                         It's
 16       beneath contempt.
 17                 Q.         (BY MR. ZALUD)    Anyway --
 18                                 MR. WOLFSOHN:       Also we permeated on
 19       June 25th of 2019, two years and two months ago.                                  So
 20       you're saying that this email, which you never even
 21       produced to us, until Laura Peters' deposition, that
 22       this is okay?
 23                                 MR. ZALUD:    You produced this to us.
 24                                 MR. WOLFSOHN:       She produced the one
 25       that actually went out in the UK.


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   1                Q.         (BY MR. ZALUD)     Anyway, Mr. Fachner, none
   2      of that was what I was asking.                       I'm just asking
   3      isn't this what you would want to be done?                             You
   4      know, regardless of any proceed wrongs that got us
   5      to this place --
   6                A.         I would want them not to license a
   7      distributor in a territory that they don't have
   8      clearly defined in this deposition that you forced
   9      me to read.             I would want that not to have happened.
 10       I would want this to be done.                    Not written to and
 11       asked, but done.              They no longer own it.               I wouldn't
 12       want the letter not to falsify information that
 13       they're doing this so that they could use a
 14       different kind of product, as opposed to we no
 15       longer own the Slush Puppie brand, and so we will be
 16       bringing something different to you in a territory
 17       that I didn't have the rights to give to you to
 18       begin with.             That's what I would have wanted.                     And
 19       to ask me to sit here and be pleased with this after
 20       they've done three wrongs and answer whether I'm
 21       happy with it is amazing to me, Eric.                        It's amazing.
 22       I know it is to you too.
 23                 Q.         Okay.   I mean, I'm just asking you about
 24       -- you know, we're having a hearing Monday on things
 25       that ICEE wants to get done and I'm just -- and you


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   1      don't have to answer.               I'm just asking --
   2                A.         In February of this year, as you presented
   3      to me, they were told to turn over the websites and
   4      the social media.             Earlier in the day today, in this
   5      four-hour deposition, you wanted to force me to not
   6      find websites somehow in a contract that was written
   7      back in 1996, but in February, they realized they
   8      can't do it and still haven't done it.                         And you want
   9      me to pat them on the back because they sent out a
 10       letter.
 11                 Q.         I'm not -- we don't need to -- I'm not
 12       asking to pat them on the back.                       I'm just trying to
 13       understand independently of past alleged wrongs.
 14                 A.         Stop abusing our name.            Stop using it
 15       illegally.             Don't find ways now to correct it.
 16       Correct it.             Don't ask a customer to correct it.                        Go
 17       out and correct it.               Don't drag out the court system
 18       while you abuse our brand and tear it down.                              That's
 19       what I'm asking for.
 20                 Q.         All right.    Let's go to --
 21                 A.         If that's your question, that's my answer.
 22                 Q.         I got it.    Let's go to the next one.
 23                            (At this time, Plaintiff's Exhibit 25 was
 24       marked for identification purposes.)
 25                 Q.         This is all I have.          This was produced.


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   1      We served discovery requests for this hearing and
   2      this was produced.               Maybe it was attached to
   3      something else.               I don't know.           Do you have any idea
   4      why this was produced in response to requests for
   5      this hearing?
   6                A.         I do not on its own.
   7                Q.         It might have been attached to something
   8      else.         I didn't think you would.                 Let's move on to
   9      the next one.
 10                            (At this time, Plaintiff's Exhibit 26 was
 11       marked for identification purposes.)
 12                 Q.         So, Mr. Fachner, take a look at this
 13       Exhibit 26 and tell me what that is.                        And, again,
 14       it's three pages so should we start with the last
 15       page for you?
 16                 A.         Yes.
 17                 Q.         All right.    We will.
 18                 A.         Unfortunately, we can't see the top of
 19       this.
 20                                   MR. WOLFSOHN:       I object to the whole
 21       way you've been showing the exhibits.                         You can't see
 22       the number, you can't see the full exhibit.                               I don't
 23       know why you can't use any of the solutions that are
 24       out there for showing exhibits to witnesses that
 25       actually let the witness control the screen and see


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   1      the document.             But I object to this entire
   2      examination to the extent you've been showing the
   3      witness the exhibits where the witness can't see
   4      them, can't read them, can't see the number, I can't
   5      see what number they're marked on, can't see the
   6      top, can't see the dates.               It's not professional,
   7      and it's inappropriate.
   8                                MR. ZALUD:    In other words, we should
   9      have done this live like I wanted to.
 10                                 MR. WOLFSOHN:       No.   We've used, to
 11       very good effect, with your witnesses, the actual
 12       law application.             There are other similar
 13       applications, but I guess Mr. Peters doesn't want to
 14       pay your firm to use them or whatever.                     I don't know
 15       what the reason is, but it is not professional and
 16       it's inappropriate.
 17                 Q.         (BY MR. ZALUD)    So, Mr. Fachner, are you
 18       --
 19                                 MR. WOLFSOHN:       And by the way, Eric.
 20       You made a long speech to Judge Barrett about how
 21       the only way that the judge and you could evaluate
 22       someone's testimony for them to be in the courtroom.
 23       So is Laura Peters coming on Monday?
 24                                 MR. ZALUD:    I mean, she's not.               She
 25       can't get in the country.


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   1                                THE COURT:    Okay.       You didn't tell
   2      Judge Barrett that, though.
   3                                MR. ZALUD:    Yes, I did.
   4                                MR. WOLFSOHN:       You said Laura Peters
   5      was not coming?
   6                                MR. ZALUD:    Yeah.       I told the Judge
   7      she's going to be on Zoom.
   8                                MR. WOLFSOHN:       All right.         So how are
   9      we supposed to evaluate her testimony since she
 10       won't be in the courtroom?
 11                                 MR. ZALUD:    It's harder.           You're
 12       right.
 13                                 MR. WOLFSOHN:       Uh-huh.
 14                                 MR. ZALUD:    I mean, I agree.
 15                 Q.         (BY MR. ZALUD)    Anyway, back to the
 16       substance of the deposition.                  Mr. Fachner, so are
 17       you not comfortable testifying about this because we
 18       can't see the top?             If you're not comfortable,
 19       that's fine, we'll skip it.
 20                 A.         These are all really hard to read.                  And
 21       when you can't see the top of it, it makes you
 22       wonder what is on the top of it, right?                        I mean, you
 23       would do the same thing that I'm doing because I
 24       can't see the top of it.               So I'm testifying on
 25       something I can't see entirely.


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   1                Q.         No.   I understand.
   2                A.         That make me feel uncomfortable.
   3                Q.         Yeah.   That is the top line, but it's
   4      partially cut off.              I understand.
   5                A.         So you can try your question and I can try
   6      to answer, but --
   7                Q.         Let me see what I was going to ask and --
   8      you know, I don't want to do that to you.                        So let's
   9      just move on.              I understand your concern there.
 10                            (At this time, Plaintiff's Exhibit 27 was
 11       marked for identification purposes.)
 12                 Q.         Let's go to the next one.        This is Exhibit
 13       27, and, again, it was produced in response to our
 14       discovery requests.               And if you could take a look at
 15       that, and it's two pages.                 We'll show you the second
 16       page first.             That's all that's on the second page.
 17                 A.         Okay.
 18                 Q.         All right.    Go to the first page.
 19                 A.         I think I've read it.
 20                 Q.         Okay.   And by the way, who is Brian
 21       Rogers?
 22                 A.         He manages the international piece of
 23       business for us with Slush Puppie.
 24                 Q.         All right.    And how does this -- do you
 25       believe this email evidenced some confusion between


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   1      Frozen Brothers and ICEE?
   2                A.         I think this is a customer asking about
   3      how to sell Slush Puppie because they're not
   4      interested in Slushy Jack.
   5                Q.         So it sounds like they know the difference
   6      between Slush Puppie and Slushy Jack; right?
   7                A.         I think that would be a stretch for me to
   8      come a conclusion based off of this.                  I think
   9      they're asking about where can I find Slush Puppie
 10       and not Slushy Jack.              That's what it says.            We
 11       prefer Slush Puppie.
 12                 Q.         Got it.   So we really can't either way
 13       from this; right?
 14                 A.         Well, again, I think they're confused on
 15       where to get Slush Puppies because somebody's told
 16       them our supplier has stopped.
 17                 Q.         Thank you, Mr. Fachner.
 18                            (At this time, Plaintiff's Exhibit 28 was
 19       marked for identification purposes.)
 20                 Q.         Let's move on to the next exhibit, 28.                   So
 21       these are a series of similar documents.                      Let's just
 22       take a look at the first couple ones.                   So they're
 23       each on one page.              There's an exchange of
 24       information on one page.                What is this first
 25       document 7374?             I'm using the ICEE Bates number at


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   1      the bottom.
   2                A.         So it's one document?           This is one
   3      document on this page, is what you're saying?
   4                Q.         That's what I'm saying, yes.             I have a few
   5      of them consecutively so they'll be the same
   6      exhibit.             So this is one document.
   7                A.         Okay.   And then your question was?
   8                Q.         What is this document?
   9                A.         It looks like a lead that must have come
 10       in to the ICEE company.
 11                 Q.         And it's from a potential customer of
 12       ICEE?
 13                 A.         Well, actually it looks like it is a
 14       customer of ICEEs.              It's not real well written, but
 15       it says, Sent details to Derek at Vimto sell ICEE in
 16       my store company.
 17                 Q.         Got it.   Yes.   Right.         Is there any
 18       evidence of confusion here on this one-page document
 19       between ICEE and Frozen Brothers?
 20                 A.         As this document sits right here, I'm not
 21       seeing the confusion.
 22                 Q.         Let's go to the next page, Dave.
 23                 A.         Was this part of the same trail or is this
 24       --
 25                 Q.         No.   I'm sorry.    Good question.             It's a


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   1      different -- completely, it's a separate document
   2      that was produced.              It's not an email string.               But
   3      it is similar in format to the one before.                        So if
   4      you could take a look at that, Mr. Fachner, and tell
   5      me what that is.
   6                A.         A request for a Slush Puppie machine.
   7                Q.         I don't see any evidence in this one
   8      either of confusion between Frozen Brothers and
   9      ICEE; right?
 10                 A.         As I'm reading this document here today, I
 11       don't see that.
 12                 Q.         Okay.   There's a few of these.          Let's just
 13       look at two more.
 14                                 MR. ZALUD:     Let's go to the next
 15       page, Dave.
 16                 Q.         (BY MR. ZALUD)     Similar formated document
 17       to the two we previously looked at, Mr. Fachner?
 18                 A.         Yes, it is similar.
 19                 Q.         And, again, is there -- do you see any
 20       evidence of confusion from this one page email
 21       exchange between Frozen Brothers and ICEE?
 22                 A.         I don't.
 23                 Q.         This will be the last one.
 24                                 MR. ZALUD:     Next page, Dave.
 25                 Q.         (BY MR. ZALUD)     Similar type of document,


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   1      Mr. Fachner?
   2                A.         This is different.
   3                Q.         Tell me what it is and how it's different.
   4                A.         This is referencing an Internet page that
   5      they cannot find, that is no longer there.
   6                Q.         So different in that sense, but is it a
   7      customer or prospective customer?                    Is that --
   8                A.         This, I probably start to believe was
   9      confusion.             Again, because we don't own the domain
 10       rights or the websites that we were able to convert
 11       over so had he been able to go to those and be led
 12       to the right spot, he wouldn't be confused.                           So this
 13       one I do see a confusion on, yes.
 14                 Q.         Okay.   Let's do one last one.
 15                                 MR. ZALUD:     Next page, Dave.
 16                 Q.         (BY MR. ZALUD)     And similar questions, Mr.
 17       Fachner, I could ask them or feel free to just
 18       respond.
 19                 A.         I don't see the confusion on this one
 20       page.
 21                 Q.         That might be all the exhibits I'm going
 22       to have.             We've talked about these websites and
 23       domain names kind of tangentally during the
 24       deposition, but let me ask you this:                    Do you have
 25       any evidence that any domain name owned by Frozen


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   1      Brothers is used or displayed in the sale or
   2      advertising of services that are rendered in
   3      commerce using the Slush Puppie trademark?
   4                A.         If I understood your question -- that's
   5      really broad.             I mean anywhere, at any spot in the
   6      U.S.?         I mean maybe you have to answer that question
   7      -- or ask that question one more time.                     I'm not sure
   8      I understood it correctly.
   9                Q.         I'll pare it down then.        Do you have any
 10       evidence that Frozen Brothers is on some domain name
 11       it's using -- it owns right now marketing Slush
 12       Puppie branded products or services in commerce?
 13                 A.         No, but I have evidence where you can go
 14       to a domain name and it's a dead end, which would
 15       imply there's no longer that brand.
 16                 Q.         And how about this:        Do you have any
 17       evidence that currently in the present day, Frozen
 18       Brothers is placing the Slush Puppie mark on goods
 19       or containers or displays that are then sold in
 20       commerce?
 21                                 MR. WOLFSOHN:       If you can testify to
 22       it, go ahead.
 23                 A.         We looked at a picture earlier.
 24                 Q.         (BY MR. ZALUD)    And that was the one of --
 25       there were two photos.             One of the front of the


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   1      machine and one of the -- some other part of the
   2      machine.             Is that the one you're talking about?
   3                A.         Yes, but the front of the machine isn't
   4      always facing the customers.                   It could have been the
   5      back of the machine that's facing the customer.
   6                Q.         I understand that.        I just meant --
   7                A.         You're distinguishing the two as if you
   8      think that means that it's behind the counter.                             And
   9      most of our locations, the machine sits on the front
 10       counter and the back is facing the customer.
 11                 Q.         I understand what you're saying.              I was
 12       just distinguishing them as different parts of the
 13       machine.
 14                 A.         Yeah.   Very confusing, you're right.
 15                 Q.         Wait.   I'm right about what?
 16                 A.         How confusing it is to have two different
 17       brand names on one machine.
 18                 Q.         Any other examples like that that you're
 19       aware of?
 20                 A.         Not off the top of my head.
 21                 Q.         Okay.   Let me think here.
 22                                 MR. ZALUD:     Not the next one.             We
 23       don't need -- we already covered that.
 24                                 THE WITNESS:       How long are we
 25       scheduled for today?


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   1                                MR. WOLFSOHN:       5:00.   He's only got
   2      one minute.
   3                                MR. ZALUD:    I only have one more
   4      question and I really mean that, so perfect timing.
   5                                Skip the one after that.
   6                A.         My timing is around a bio break.              So if we
   7      had one question, that's sounds great.                     If you have
   8      two questions, it doesn't sound so good.
   9                Q.         (BY MR. ZALUD)    Lawyers -- I'm not
 10       exaggerating.             It's one question.
 11                                 MR. ZALUD:    Not the next one, so it's
 12       the second last --
 13                                 (At this time, Plaintiff's Exhibit 32
 14       was marked for identification purposes.)
 15                 Q.         (BY MR. ZALUD)    Last exhibit, last
 16       question.             This is Exhibit 32, and I'll tell you
 17       what it is.             It's the -- you may have seen it.                  It's
 18       ICEE's brief in support of its motion for
 19       preliminary injunction.               Have you seen this before?
 20                 A.         I have.
 21                 Q.         No detailed for questions for you.                Let's
 22       just go to the next page.               So the part I bracketed,
 23       it says, Our heritage:             We are Frozen Brothers, a
 24       company created from a union of family businesses,
 25       that back in 1974 introduced the United Kingdom,


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   1      Europe, and Scandinavia to a frozen beverage called
   2      Slush Puppie.             Do you see that?
   3                A.         I do.
   4                Q.         Based on your history in the industry and
   5      your relationship over the years with Slush Puppie
   6      Limited, is this statement factually true?
   7                A.         Well, I certainly was not around this
   8      business in 1974, so I don't know that I can
   9      accurately determine whether this is accurate or
 10       not.
 11                 Q.         All right.   So you don't know whether it's
 12       accurate or inaccurate based on the fact you weren't
 13       in the business in 1964 or in this part of the
 14       business?
 15                 A.         We were not in this part of the business
 16       in 1974.
 17                 Q.         All right?   I wasn't kidding, Mr. Fachner.
 18       I have no further questions for you.
 19                 A.         Okay.   Thank you.
 20                 Q.         Thank you.   I'm done.          I appreciate your
 21       time.         We'll see you Monday.
 22                            - - -
 23                            (Deposition concluded at 5:02 p.m.) - - -
 24

 25


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